          IN THE DISTRICT COURT OF THE UNITED STATES
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      CHARLOTTE DIVISION

                        CIVIL CASE NO. 3:07cv331
                      [Criminal Case No. 3:02cr156-1]


JAMES E. MCLEAN, JR.,        )
                             )
              Petitioner,    )
                             )
              vs.            )             MEMORANDUM OF DECISION
                             )                   AND ORDER
                             )
                             )
UNITED STATES OF AMERICA,    )
                             )
              Respondent.    )
_____________________________)

      THIS MATTER is before the Court on the Petitioner’s Motion under 28

U.S.C. §2255 to Vacate, Set Aside, or Correct Sentence by a Person in

Federal Custody [Doc. 1] and the Government’s Motion for Summary

Judgment [Doc. 14].

                               BACKGROUND

      On September 13, 2002, the Petitioner and six others were charged in

a 66-count superseding bill of indictment with participating in a wide-ranging

scheme to defraud investors in the secondary mortgage market by creating

and selling fictitious mortgage loans. Specifically, the indictment charged that

the Petitioner conspired, along with his wife, Macy McLean, and five other co-



  Case 3:02-cr-00156-MOC-DSC     Document 408     Filed 01/18/11   Page 1 of 70
defendants to defraud the Federal National Mortgage Association (“Fannie

Mae”) by selling fictitious mortgage notes to it; to defraud the United States by

pooling fictitious mortgage notes into securities issued by the Government

National Mortgage Association (“Ginnie Mae”); to defraud Branch Banking &

Trust (“BB & T”) by assigning fictitious mortgage notes to it in exchange for

advances under a mortgage loan agreement; and to launder the proceeds of

their fraud, all in violation of 18 U.S.C. § 371 (Count One). [Criminal Case No.

3:02cr156, Doc. 45]. Counts Two through Ten charged the Petitioner with

using interstate wire transmissions to sell false mortgage notes to Fannie Mae

and aiding and abetting those offenses, in violation of 18 U.S.C. §§ 1343 and

2. [Id.]. Counts 11 through 21 charged the Petitioner with using interstate wire

transmissions to submit false Housing and Urban Development (“HUD”)

documents to secure Ginnie Mae mortgage securities and aiding and abetting

those offenses, in violation of 18 U.S.C. §§ 1343 and 2. [Id.]. Counts 22

through 32 charged the Petitioner with making false entries on monthly status

reports required by HUD and aiding and abetting those offenses in violation

of 18 U.S.C. §§ 1006 and 2. [Id.]. Counts 33 through 36 charged him with

submitting false statements on HUD forms 11705 and 11706 in connection

with the Ginnie Mae scheme and aiding and abetting those offenses in

violation of 18 U.S.C. §§ 1001 and 2. [Id.]. Counts 37 through 52 charged the


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  Case 3:02-cr-00156-MOC-DSC      Document 408    Filed 01/18/11   Page 2 of 70
Petitioner with making and passing false mortgage notes to influence HUD

and aiding and abetting those offenses in violation of 18 U.S.C. §§ 1010 and

2. [Id.].1 Counts 53 and 54 charged him with bank fraud against BB & T and

aiding and abetting in those offenses in violation of 18 U.S.C. §§ 1344 and 2.

[Id.]. Counts 55 through 66 charged the Petitioner with money laundering and

aiding and abetting in those offenses in violation of 18 U.S.C. §§

1956(a)(1)(A)(I) and 2. [Id.].

      On November 12, 2002, the Court commenced a jury trial for the

Petitioner, his wife, and his co-defendants, Paul and Debbie Zimmerman. The

facts of the case are summarized in the Fourth Circuit’s opinion on the

Petitioner’s direct appeal:

      Defendants James and Macy McLean were officers and owners
      of First Beneficial Mortgage Corp (“FBMC”), a mortgage company
      based in North Carolina. As a qualified Federal Housing
      Administration (“FHA”) lender with direct endorsement authority,
      FBMC had the authority to approve mortgage loans for federal
      FHA insurance. An FHA-insured mortgage loan, in turn, is
      “readily saleable” on the secondary mortgage market. FBMC was
      also an approved Fannie Mae lender, meaning FBMC could
      originate a mortgage loan with the borrower and then Fannie Mae
      would immediately buy the mortgage on the secondary market
      without doing its own underwriting evaluation.



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        The superseding indictment alleged violations of 18 U.S.C. §§ 1010 and 2 only
with respect to Counts 37 through 47. [3:02cr156-1 Doc. 45 ¶¶ 60-61.] Subsequently,
the Government filed a motion to correct the indictment by replacing the references to
“Counts 37 through 47" in paragraphs 60 and 61 with “Counts 37 through 52.” See id.
at Doc. 105. The Court granted the motion. See id. at Doc. 107.

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  Case 3:02-cr-00156-MOC-DSC         Document 408     Filed 01/18/11    Page 3 of 70
   FBMC created a subsidiary company, First Beneficial Homes
   (“FBH”), which was in the business of building modular homes
   financed by FBMC. Paul and Debbie Zimmerman, both of whom
   were employed by FBMC, were officers in FBH, as was Macy
   McLean. In order to obtain funds for FBH to build homes, the
   McLeans, Zimmermans and a third couple, the Greens, recruited
   individuals, primarily friends and relatives, to sign mortgage loan
   notes purporting to secure funds advanced by FBMC for homes
   that, in fact, did not exist or were owned by someone other than
   the “borrower” named on the note.               The McLeans and
   Zimmermans induced these individuals to sign the mortgage
   notes by paying them various amounts to participate in an
   “investment” opportunity and representing that, by signing, the
   “investors” did not actually incur any repayment obligation. The
   McLeans and Zimmermans also signed similar fictitious mortgage
   notes themselves.        None of the individuals signing these
   documents ever acquired or possessed any ownership interest in
   the properties listed on the notes.

   FBMC would then sell these “instruments” to Fannie Mae on the
   secondary market, representing by the terms of the note that the
   borrower signing the note had an ownership interest in the listed
   property, that FBMC had a security interest in the property, and
   that the property was of sufficient value to protect the lender-or
   any secondary purchaser of the loan such as Fannie Mae-in the
   event of default. As an approved Fannie Mae lender, FBMC had
   the authority to transfer its loans to Fannie Mae without having to
   submit the loans to any underwriting review process by Fannie
   Mae. Essentially, FBMC was empowered to make underwriting
   decisions on behalf of Fannie Mae.

   Eventually, Fannie Mae detected irregularities in FBMC's
   underwriting practices and conducted an audit of the loans it had
   purchased. A physical inspection of the properties for which
   FBMC had purportedly financed the purchase of a completed
   home revealed that the many [sic] of the lots were either vacant
   or contained a partially completed house. Additionally, some of
   the lots that ostensibly secured mortgage loans already
   purchased by Fannie Mae were being offered for sale. James
   McLean claimed that he incorrectly assumed that Fannie Mae

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Case 3:02-cr-00156-MOC-DSC    Document 408    Filed 01/18/11   Page 4 of 70
   would purchase construction loans, which disburse funds in
   piecemeal fashion as each new phase of construction begins.
   Fannie Mae, however, does not purchase construction loans,
   which FBMC was not authorized to sell. And, FBMC had not sold
   the loans as construction loans to Fannie Mae in any event. In
   November 1998, when FBMC could not account for all of the
   irregularities, Fannie Mae suspended FBMC as an approved
   lender.

   Faced with the collapse of the Fannie Mae scheme, James
   McLean agreed to repurchase the loans FBMC sold to Fannie
   Mae. Although he told Fannie Mae that he had secured investors
   willing to fund the repurchase of these loans, he refused to
   divulge the identity of the investors. In fact, FBMC secured funds
   to repurchase the loans by simply continuing the Fannie Mae
   “investor” scheme with Ginnie Mae. Ginnie Mae, which is owned
   by HUD, sells mortgage-backed securities which are created from
   “pools” of mortgage loans. A qualified mortgage lender originates
   several FHA-insured mortgages, “pools” them together, and sells
   them-without any review-to Ginnie Mae. Ginnie Mae, in turn, sells
   an interest in the mortgage pool to investors. FBMC was qualified
   as a Ginnie Mae lender and issuer, meaning that not only did
   Ginnie Mae implicitly approve of any mortgage loan extended by
   FBMC, but FBMC could actually issue Ginnie Mae securities.

   The McLeans and Zimmermans used the same lots and “investor
   scheme” with Ginnie Mae that they had used for Fannie Mae, and
   the overall process was essentially the same. James McLean
   paid a commission to the Zimmermans for each “investor” they
   recruited. The Zimmermans brought their investors to Macy
   McLean. Macy then gave her assistant these names, along with
   an address and a purported loan amount, which the assistant
   inserted into a mortgage note. Ginnie Mae would not accept
   mortgage loans that were not federally insured, so one of FBMC's
   loan officers was directed to “supply” an FHA number for the note.
   The mortgage notes were then signed by the “investors,” and, as
   required by Ginnie Mae, delivered to FBMC's Ginnie Mae
   document custodian, BB & T bank, for initial certification. James
   and Macy McLean also had to file certain information
   electronically. FBMC then issued securities which were sold to

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Case 3:02-cr-00156-MOC-DSC    Document 408   Filed 01/18/11   Page 5 of 70
         Ginnie Mae investors. The purchase price was wired to FBMC's
         account at BB & T.

         FBMC also obtained a line of credit at BB & T to fund loans to its
         customers. As collateral to secure the line of credit, FBMC
         supplied BB & T with fictitious mortgage notes signed by
         “investors” who had no ownership interest in the property
         purportedly secured by the note. Although the line of credit was
         to be used by FBMC strictly for funding mortgage loans to FBMC
         clients, FBMC used line of credit money to pay down the fictitious
         loans sold to Ginnie Mae as well as to repurchase loans from
         Fannie Mae.

         The government's evidence showed that only seven percent of
         the proceeds from the sale of the fictitious notes to Ginnie Mae
         went to fund legitimate expenses such as construction and land
         for FBH's business. One million dollars was allocated to the
         growing monthly payments on the increasing number of false
         mortgage notes, and approximately $340,000 was paid out to the
         Zimmermans and the Greens for commissions. The Zimmermans
         used structured transactions to deposit half of this into their
         personal accounts. And $7.5 million of the Ginnie Mae funds
         were simply transferred to Fannie Mae to repurchase the false
         notes.

United States v. McLean, 131 Fed.Appx. 34, 36-38 (4th Cir. 2005) (McLean

I).

         On November 22, 2002, the jury returned a special verdict, convicting

the Petitioner on all 66 counts. [Criminal Case No. 3:02 cr156, Doc. 145].

Based on a total offense level of 37 and a criminal history category of II, the

Petitioner’s    sentencing    guidelines       range   was   235   to   293   months'

imprisonment. United States v. McLean, 192 Fed.Appx. 234, 235 (4th Cir.

2006) (McLean II). The Court sentenced the Petitioner to 252 months of

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      Case 3:02-cr-00156-MOC-DSC    Document 408       Filed 01/18/11   Page 6 of 70
imprisonment. Id.

      The Petitioner filed a timely appeal, which was consolidated with that of

his wife, Macy, and their co-defendants, the Zimmermans. Among the issues

raised on appeal were that the trial court erred in refusing to give a “good

faith” instruction for the counts alleging the passing of false mortgage

instruments to HUD under § 1010; that the Government’s evidence was

insufficient to support the jury’s finding of guilt on any of the charged counts;

and that the Court erred in denying the Petitioner’s motion for a downward

departure under U.S.S.G. § 4A1.3.

      The Fourth Circuit issued it’s opinion on May 2, 2005, affirming the

convictions of all appellants but vacating and remanding the cases for

resentencing in light of the Supreme Court’s decision in of United States v.

Booker, 543 U.S. 220, 125 S.Ct. 738, 160 L.Ed.2d 621 (2005). McLean I, 131

Fed.Appx. at 41. On remand, the Petitioner received the same sentence as

previously imposed. McLean II, 192 Fed.Appx. at 235-36.

      The Petitioner appealed again, arguing that the sentence was

unreasonable in light of Booker. Id. On July 31, 2006, the Fourth Circuit

affirmed Petitioner’s sentence. Id. The Petitioner filed a Petition for Writ of

Certiorari, which was denied on June 29, 2007. McLean v. United States, 551

U.S. 1165, 127 S.Ct. 3051, 168 L.Ed.2d 764 (2007).


                                       7

  Case 3:02-cr-00156-MOC-DSC      Document 408    Filed 01/18/11   Page 7 of 70
      On August 14, 2007, the Petitioner filed the instant motion to vacate

alleging 23 grounds for relief, not including sub-claims.               [Doc. 1]     On

September 29, 2009, he filed a motion to amend to add a claim of ineffective

assistance of counsel for failure to argue that the Petitioner was legally

innocent of counts 55-66 of the indictment. [Doc. 3]. The Court allowed the

motion.      [Doc. 4].   The Respondent filed a Response and a Motion for

Summary Judgment on July 24, 2009. [Doc. 13, Doc. 14]. On September 30,

2009, the Petitioner filed a memorandum of law and exhibits in support of his

Motion to Vacate.        [Doc. 16].    Subsequently, he filed a document titled

“Declaration,” in which he provided additional facts to the affidavit filed with his

§ 2255 motion. [Doc. 17]. He also filed a second memorandum of law on

April 19, 2010, in which he claimed that the Court used the wrong version of

the sentencing guidelines to determine his sentence.2 [Doc. 18].

                              STANDARD OF REVIEW

      The Federal Rules of Civil Procedure state, in pertinent part, that “[t]he

court shall grant summary judgment if the movant shows that there is no

genuine dispute as to any material fact and the movant is entitled to judgment

as a matter of law.”         Fed. R. Civ. P. 56(a).3      The Court carefully has

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          The case was reassigned to the undersigned when the sentencing judge retired.
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       Rule 56 was amended effective December 1, 2010. The quoted language
appears in the version of the Rule in effect at the time the motion was filed. The

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  Case 3:02-cr-00156-MOC-DSC          Document 408     Filed 01/18/11   Page 8 of 70
considered the parties’ arguments along with the relevant law governing those

arguments. Indeed, the Court already has considered and rejected most of

the grounds raised in the Petitioner’s Motion to Vacate when it denied a

virtually identical motion to vacate filed by his wife and co-defendant, Macy

McLean. [Civil Case No. 3:06cv293, Doc. 13]. Based upon the forgoing, the

Court has determined the Respondent’s Motion for Summary Judgment

should be granted and the Petitioner’s Motion to Vacate should be denied and

dismissed.

                                   DISCUSSION

      In his Motion to Vacate, the Petitioner raises 23 claims, many of which

have sub-claims, including claim #23, which has 28 sub-claims alleging

ineffective assistance of counsel. Additionally, as indicated previously, the

Petitioner attempts to raise a new claim in his final “memorandum” in support

of his § 2255 motion. [Doc. 18]. The Court will address that issue before

turning to the claims raised in the Motion to Vacate, which can be grouped

into broad categories.

A. Claim that Court Used the Wrong Sentencing Guidelines

      In a filing entitled “Memorandum In Support of Motion Pursuant to §




substance of the standard as it applies to this case had not changed with the
amendment.

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  Case 3:02-cr-00156-MOC-DSC         Document 408      Filed 01/18/11   Page 9 of 70
2255," the Petitioner claims that the Court used the wrong version of the

sentencing guidelines when it sentenced him.4 The Petitioner, however, has

not sought leave of the Court to amend his Motion to Vacate to add this claim.

Furthermore, even if the Court were to construe the filing liberally as a Motion

to Amend, such a motion would not be granted.

      Rule 12 of the Rules Governing § 2255 Proceedings states that, “[t]he

Federal Rules of Civil Procedure . . . to the extent that they are not

inconsistent with any statutory provisions or these rules, may be applied to a

proceeding under these rules.”            Rule 15 of the Federal Rules of Civil

Procedure governs when a party may amend a pleading.                       That rule is,

however, in some respects inconsistent with § 2255(f) which imposes a one-

year statute of limitations on motions to vacate.

      The one-year statute of limitations expired for the Petitioner on or about

June 30, 2008, a year after the Supreme Court denied his Petition for Writ of

Certiorari. See § 2255(f)(1). Therefore, the Petitioner’s “memorandum,” filed

almost two years later on April 19, 2010, is untimely in its attempt to raise a

new issue. See id.

      When a proposed amendment is barred by the statute of limitations,



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         It is not clear from Petitioner’s memorandum whether he is referring to his
original sentencing or his resentencing after remand.

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  Case 3:02-cr-00156-MOC-DSC         Document 408       Filed 01/18/11    Page 10 of 70
Rule 15(c) of the Federal Rules of Civil Procedure provides for the relation

back of amendments to the filing date of the original pleading under certain

circumstances. Relation back is permitted when "the amendment asserts a

claim or defense that arose out of the conduct, transaction, or occurrence set

out ... in the original pleading[.]"   Fed.R.Civ.P. 15(c)(1)(B).    A proposed

amendment, however, does not relate back “when it asserts a new ground for

relief supported by facts that differ in both time and type from those the

original pleading set forth.” Mayle v. Felix, 545 U.S. 644, 650, 125 S.Ct. 2562,

162 L.Ed.2d 582 (2005). “The ‘original pleading’ to which Rule 15 refers is the

complaint in an ordinary civil case, and the petition in a habeas proceeding.”

Id., at 655. In this case, the original pleading is the Motion to Vacate. U.S.

v. Hernandez, 436 F.3d 851, 857 (8th Cir. 2006), certiorari denied 547 U.S.

1172, 126 S.Ct. 2341, 164 L.Ed.2d 856 (2006) (citations omitted).

      The Petitioner’s allegation that the Court used the wrong version of the

sentencing guidelines is a new ground for relief that differs in both time and

type from any of the allegations raised in the Motion to Vacate. Therefore, it

does not relate back to the motion to vacate and is untimely. Mayle, 545 U.S.

at 650. Consequently, the Court will not consider it.

B. Procedurally Defaulted Claims

      In his Motion to Vacate, Petitioner asserts numerous claims that he


                                       11

 Case 3:02-cr-00156-MOC-DSC      Document 408    Filed 01/18/11    Page 11 of 70
could have raised on direct appeal but did not. These are:

     (1) Ground One in which Petitioner argues that Counts 37 through
     52 of the indictment, charging making and passing false
     statements and mortgage notes to HUD, were constructively
     amended;

     (2) Ground Two in which Petitioner alleges that Counts Two
     through Ten of the indictment, charging wire fraud, were
     constructively amended;

     (3) Ground Three in which Petitioner alleges that Counts 11
     through 21 of the indictment, charging wire fraud, were
     duplicitous;

     (4) Ground Four in which Petitioner alleges that Counts 37
     through 52, charging making and passing false statements and
     mortgage notes to HUD, were duplicitous;

     (5) Ground Five in which Petitioner alleges that Counts 37 through
     52 were constructively amended;

     (6) Ground Six in which Petitioner argues that the indictment was
     constructively amended through the Court’s instruction to the jury
     on willful blindness;

     (7) Ground Seven in which Petitioner argues that Counts 22
     through 32 of the indictment, charging making false statements to
     an agency of the United States, were constructively amended;

     (8) Ground Eight in which Petitioner argues that Counts 55
     through 66 of the indictment, charging money laundering, were
     constructively amended;

     (9) Ground 9a in which Petitioner alleges that Counts Two through
     21 of the indictment, charging wire fraud, were constructively
     amended;

     (10) Ground 9b in which Petitioner alleges that Counts 11 through
     52 of the indictment were constructively amended;

                                    12

 Case 3:02-cr-00156-MOC-DSC    Document 408    Filed 01/18/11   Page 12 of 70
      (11) Ground 10a in which Petitioner alleges that Counts 53 and 54
      of the indictment, charging bank fraud, were constructively
      amended;5

      (12) Ground 11a in which Petitioner argues that Counts 9 and 10
      of the indictment, charging wire fraud, were multiplicitous;

      (13) Ground 12 in which Petitioner argues that Counts 37 through
      39; Counts 40 and 41; Counts 43 and 44; Counts 46 through 48;
      and Counts 49 through 52, respectively, were multiplicitous
      charges;

      (14) Ground 12b in which Petitioner argues that he was
      sentenced in violation of the Double Jeopardy Clause as to
      Counts 9 and 10; Counts 37 through 39; Counts 40 and 41;
      Counts 43 and 44; Counts 46 through 48; and Counts 49 through
      52, respectively, because the charges were multiplicitous and
      should not have generated separate sentences;

      (15) Ground 19a in which Petitioner argues that Counts 22
      through 32, charging false statements to an agency of the United
      States, were duplicitous; and

      (16) Ground 19b in which Petitioner argues that Counts 33
      through 36, charging false statements to a lending institution,
      were duplicitous.

[Doc. 1, at 5-17, 33-34.] Generally, claims that could have been, but were not,

raised on direct review are procedurally barred by default. United States v.

Pettiford, 612 F.3d 270, 280 (4th Cir. 2010), certiorari denied             S.Ct.       ,

2010 WL 4155808, 79 USLA 3300 (2010) (citations omitted). In order to


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        Petitioner does not allege any Ground 10b or 11b in his Motion [Doc. 1]. The
Court nonetheless refers to these arguments as Grounds 10a and 11a, as did
Petitioner. Any references throughout this opinion to Grounds 10 or 11 are references
to said Grounds 10a and 11a as so identified by Petitioner in his Motion.

                                          13

  Case 3:02-cr-00156-MOC-DSC        Document 408     Filed 01/18/11   Page 13 of 70
collaterally attack a conviction or sentence based upon alleged errors that

could have been pursued on direct appeal but were not, a petitioner must

show cause and actual prejudice resulting from the errors complained of, or

that he is actually innocent. United States v. Mikalajunas, 186 F.3d 490,

492-93 (4th Cir. 1999), certiorari denied 529 U.S. 1010, 120 S.Ct. 1283, 146

L.Ed.2d 230 (2000) (citations omitted).

      Although the Petitioner asserts that these claims were not raised due to

counsel’s ineffectiveness, this conclusory assertion falls far short of

establishing "cause" for his procedural default. As the Supreme Court long

ago observed, "the mere fact that counsel failed to recognize the factual or

legal basis for a claim, or failed to raise the claim despite recognizing it, does

not constitute cause for a procedural default." Murray v. Carrier, 477 U.S.

478, 486, 106 S.Ct. 2639, 91 L.Ed.2d 397 (1986).           Rather, to establish

"cause" for his procedural default of these claims, a petitioner must "show that

some objective factor external to the defense impeded counsel’s efforts to

comply with the [ ] procedural rule." Id., at 488.

      Here, the Petitioner has not identified any factor external to the defense

that impeded counsel’s ability to raised these             issues on appeal.

Consequently, he has not established cause to excuse his default of these

claims Id.   Nor has he demonstrated that he is actually innocent of the


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 Case 3:02-cr-00156-MOC-DSC       Document 408    Filed 01/18/11   Page 14 of 70
charges for which he was sentenced. Mikalajunas, 186 F.3d, at 493 (citation

omitted). Therefore, claims One, Two, Three, Four, Five, Six, Seven, Eight,

Nine(a) and (b), 10a, 11a, 12, 12(b), and 19(a) and (b) are barred by

Petitioner’s procedural default.

C. Procedurally Barred Claims

      Issues that were decided on direct appeal may not be raised again on

collateral review absent an intervening change in the law that can be applied

in a collateral proceeding. Boeckenhaupt v. United States, 537 F.2d 1182,

1183 (4th Cir. 1976), certiorari denied 429 U.S. 951, 97 S.Ct. 371, 50 L.Ed.2d

320 (1976); United States v. Roane, 378 F.3d 382, 396 n. 7 (4th Cir.2004),

certiorari denied 546 U.S. 810, 126 S.Ct. 330, 163 L.Ed.2d 43 (2005). In this

case, the Petitioner and his co-defendants challenged the sufficiency of the

evidence to support each of their convictions, and the Fourth Circuit rejected

these claims, holding that “there was ample evidence for a reasonable trier of

fact to have found defendants guilty beyond a reasonable doubt on each

count of conviction.” McLean I, 131 Fed.Appx., at 41.

      Because the Petitioner cannot point to any intervening change in the law

with respect to these claims, each of the claims of insufficiency of the

evidence raised in the instant motion to vacate are foreclosed by this holding.

These claims include:


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 Case 3:02-cr-00156-MOC-DSC        Document 408   Filed 01/18/11   Page 15 of 70
   (1) Ground 13a in which the Petitioner argues insufficient
   evidence to support his convictions under Counts One, Two
   through 32, and 37 through 56 because the Government failed to
   prove intent or willful blindness;

   (2) Ground 13b in which the Petitioner argues insufficient
   evidence to support his convictions under Counts 33 through 36
   because the Government failed to prove materiality or intent;

   (3) Ground 14 in which the Petitioner argues insufficiency of the
   evidence to support his convictions under Counts 37 through 41
   because the Government failed to prove that he acted knowingly
   and intentionally or willfully and because it failed to prove the
   materiality of the false mortgage notes referenced in these
   charges;

   (4) Ground 15 in which the Petitioner argues insufficiency of the
   evidence to support his conviction under Count One because the
   Government failed to prove that he acted knowingly and
   intentionally with respect to the conspiracy;

   (5) Ground 16 in which the Petitioner argues insufficiency of the
   evidence to support his convictions under Counts 22 through 32
   because the Government failed to prove that he acted knowingly
   and intentionally or that the false statements made by Petitioner
   were “material”;

   (6) Ground 17 in which the Petitioner argues insufficiency of the
   evidence to support his convictions under Counts 55 and 56 of the
   indictment, charging money laundering, because the Government
   failed to prove that he intended to promote unlawful activities, that
   he knew the financial transactions at issue involved proceeds
   from a criminal offense, or that he acted knowingly and
   intentionally.

   (7) Ground 18 in which the Petitioner argues insufficiency of the
   evidence as to Counts 53 and 54, charging bank fraud, because
   the Government failed to prove that the bank was exposed to any
   financial risk, failed to prove that the scheme was designed to
   defraud the bank, failed to prove that he acted knowingly, and

                                    16

Case 3:02-cr-00156-MOC-DSC    Document 408     Filed 01/18/11   Page 16 of 70
      failed to prove that the acts charged were accomplished through
      “material” false representations;

      (8) Ground 20 in which the Petitioner argues insufficiency of the
      evidence to support his convictions under Counts Two through
      Ten; Counts 22 through 32; and Counts 37 through 54 because
      the Government failed to prove that Petitioner aided or abetted
      any of the acts charged; and

      (9) Ground 21 in which the Petitioner argues insufficiency of the
      evidence to support his convictions under Counts Two through 21
      because the Government failed to prove materiality and that he
      acted knowingly and intentionally.

      Additionally, in Ground 21b, the Petitioner contends that the Court erred

in denying his motion for downward departure based on an overstatement of

his criminal history. The Petitioner raised this issue on appeal, arguing that

the Court “reversibly erred in denying” his motion for a downward departure

under Sentencing Guidelines § 4A1.3, which authorizes a downward

departure “[i]f reliable information indicates that the defendant’s criminal

history category substantially over-represents the seriousness of the

defendant’s criminal history or the likelihood that the defendant will commit

other crimes[.]” [Brief of Appellants at 51-55, McLean I, supra. (No. 03-4899,

03-4922, 03-4923, 04-4038) 2004 WL 5245322]. On appeal, the Fourth

Circuit rejected Petitioner’s argument, stating that it had “considered . . .

defendant’s argument with respect to the application of the guidelines and

conclude[d] that the district court committed no error in that regard.” McLean


                                      17

 Case 3:02-cr-00156-MOC-DSC     Document 408    Filed 01/18/11   Page 17 of 70
I, 131 Fed. Appx., at 41.

      For the foregoing reasons the Petitioner is foreclosed from re-litigating

the following claims: 13(a) and (b), 14, 15, 16, 17, 18, 20, 21, and 21(b).

Therefore, these claims will be dismissed and denied as procedurally barred.

D. Prosecutorial Misconduct Claims

      The Petitioner contends that the prosecutor engaged in misconduct by

suborning perjury from James Beatty, Sharon Abrams, Richiedean Gess,

Sandra Dixon, and Eric Brown.               He further alleges that the prosecutor

committed Brady6 violations by failing to disclose FBMC’s business plan and

loan request letter to BB & T for a warehouse line of credit and by failing to

disclose the application and approval letter(s) which related to FBMC’s

authorization to issue Title I manufactured home loan guarantees. Finally, the

Petitioner alleges that the prosecutor included misleading or inaccurate

quotes in the Government’s appellate brief.

      1. Suborning Perjury Claims 7

      In order to succeed on a claim of prosecutorial misconduct based upon

perjured trial testimony, a petitioner first must show that the testimony was, in

fact, perjured, and second, that the Government knowingly used the perjured


      6
          Brady v. Maryland, 373 U.S. 83, 83 S.Ct. 1194, 10 L.Ed.2d 215 (1963).
      7
          Alleged in Ground 22 ¶¶ 1, 4-6, 8, and 10 of Petitioner’s Motion to Vacate.

                                             18

 Case 3:02-cr-00156-MOC-DSC            Document 408      Filed 01/18/11   Page 18 of 70
testimony in order to secure the conviction. Boyd v. Fench, 147 F.3d 319,

329-30 (4th Cir. 1998), certiorari denied 525 U.S. 1150, 119 S.Ct. 1050, 143

L.Ed.2d 56 (1999), citing Napue v. Illinois, 360 U.S. 264, 269, 79 S.Ct. 1173,

3 L.Ed.2d 1217 (1959). However, “[m]ere inconsistencies in the testimony by

government witnesses do not establish the government’s knowing use of false

testimony.” United States v. Griley, 814 F.2d 967, 971 (4th Cir. 1987).

       The Petitioner alleges that James Beatty perjured himself before the

grand jury by testifying that he had made mortgage payments on a FBMC

home loan when other witnesses had told the FBI that Beatty had not made

any payments. Similarly, the Petitioner alleges that Sharon Abrams perjured

herself by testifying 8 that she did not have access to Fannie Mae and Ginnie

Mae manuals when another witness (the Petitioner himself) testified that Ms.

Abrams had on-line access to manuals. [Criminal Case No. 3:02cr156, Trial

Tr. Vol. V, at 1237]. All the Petitioner has shown is that inconsistencies

existed between the testimony of various witnesses, which is insufficient to

show that the Government knowingly suborned perjury. Griley, 814 F.2d at

970-71. Furthermore, whether Beatty made mortgage payments on his own

loan and whether Abrams had access to government manuals were facts

       8
        Petitioner has failed to include the transcripts of testimony in the record in this
case. That would provide an additional basis for rejecting these arguments. The trial
transcripts, however, appear in the record of the underlying criminal case [3:02cr156],
and show that Petitioner’s claims are without merit.

                                             19

  Case 3:02-cr-00156-MOC-DSC          Document 408       Filed 01/18/11     Page 19 of 70
immaterial to whether the Petitioner conspired to defraud the government and

BB & T.

      Similarly, the allegedly perjurious testimony of Richiedean Gess, a

former FBMC employee, who stated that she was not consulted on

underwriting or asked to underwrite construction loans was contradicted by

the Petitioner’s testimony on cross-examination. The Petitioner testified that

he had consulted Ms. Gess about FBMC’s “investor program” initially when

the loans were sold to Fannie Mae, but not when they were pooled as Ginnie

Mae certificates. [Id., Trial Tr. Vol. V, at 1322]. As set forth previously, the

fact that various witnesses testified inconsistently with each other is

insufficient to show that the prosecutor suborned perjury. Griley, 814 F.2d at

970-71.

      As for Sandra Dixon, a Ginnie Mae account executive, the Petitioner

contends that her testimony that a single family loan issuer cannot place

manufactured home loans into a Ginnie Mae single family pool was false in

light of another government witness’s statement to the FBI that manufactured

home loans could be placed into Ginnie Mae single family pools. The same

individual, however, told the FBI that such homes could be placed in a Ginnie

Mae pool only if they were “stick-built and are permanent.” [Doc. 16-1, at 9].

Again, Petitioner merely has shown that two people possibly made


                                      20

 Case 3:02-cr-00156-MOC-DSC      Document 408    Filed 01/18/11   Page 20 of 70
inconsistent statements; he has not shown that Ms. Dixon testified falsely.

Griley, 814 F.2d at 970-71.

      Finally, with respect to Eric Brown’s testimony, the Petitioner’s allegation

of perjury rests on alleged inconsistencies between Brown’s testimony on

direct and his testimony on cross-examination. To the extent that these

inconsistencies existed, they arose during Brown’s testimony. Assuming for

the sake of argument that Brown did testify falsely on direct examination, the

Petitioner has failed to point to any evidence that the prosecutor knew that he

was testifying falsely. Furthermore, because they were made during Brown’s

testimony, the jury had the benefit of Brown’s allegedly inconsistent

statements when making its credibility determinations.

      The Petitioner also claims that the Government knew that Brown

testified falsely about a meeting he had with the Zimmermans and the

Petitioner during which the Petitioner told Brown that FBMC’s investor

program was “legal but not really legal.”        The Petitioner relies on the

statements of two unidentified individuals who told the FBI that the Petitioner

was not at that meeting. Again, the Petitioner merely has shown that two

people said something that was inconsistent with Brown’s testimony. Such

evidence is insufficient to show that Brown committed perjury and that the

Government knew it at the time of his testimony. Id.


                                       21

 Case 3:02-cr-00156-MOC-DSC       Document 408    Filed 01/18/11   Page 21 of 70
      2. Brady Violation 9

      The Petitioner next contends that the prosecution failed to “bring forth”

FBMC’s business plan and loan request letter to BB & T for a warehouse line

of credit, which, according to the Petitioner, would have shown that BB & T

knew that FBMC was issuing loans for manufactured housing. Additionally,

the Petitioner contends that the Government failed to “bring forth” FBMC’s

application to issue HUD-backed Title I manufactured housing loans and the

approval letter from HUD granting the application.

      In Brady v. Maryland, the United States Supreme Court held that the

prosecution deprives a criminal defendant of due process when it suppresses

evidence that is “favorable to an accused . . . where the evidence is material

either to guilt or to punishment . . .[.]” Brady, 373 U.S. at 87. In order to

establish a Brady violation, a petitioner must show that the evidence at issue

(1) is favorable to him, whether directly exculpatory or of impeachment value;

(2) was suppressed by the Government; and (3) is material. Strickler v.

Greene, 527 U.S. 263, 281-82, 119 S.Ct. 1936, 144 L.Ed.2d 286 (1999). In

order to establish the “materiality” component, the Petitioner must show that

“there was a reasonable probability” that the result of his trial would have been

different if the evidence had been disclosed to the defense. Id., at 280.


      9
          Alleged in Ground 22 ¶¶ 2-3 of the Petitioner’s Motion to Vacate.

                                             22

 Case 3:02-cr-00156-MOC-DSC            Document 408      Filed 01/18/11   Page 22 of 70
      For the government to suppress evidence, it is axiomatic that the

evidence first must exist. The Petitioner testified that BB & T loan officer John

Ellis knew that FBMC was funding construction loans with BB&T’s warehouse

line of credit. [Criminal Case No. 3:02cr156, Trial Tr. Vol. V, at 1325-26].

Ellis, however, testified that BB&T rejected the Petitioner’s proposal to have

the bank fund closings for mobile homes or construction loans. [Id., at Vol. IV,

904-05]. Neither Petitioner nor Ellis testified that FBMC had submitted a

formal written business plan. As such, the Petitioner has failed to show that

the allegedly exculpatory evidence existed. Consequently, he has also failed

to show that the Government suppressed it.

      As for FBMC’s application to become a Title I issuer of manufactured

housing loans insured by HUD and the letters approving FBMC’s application,

the Petitioner has failed to show that any such evidence was material to his

defense.10

      Whether FBMC was conditionally authorized to issue manufactured



      10
          These documents were not produced at trial by the Petitioner, any of his co-
defendants, or the Government. The Petitioner obtained a copy through a Freedom of
Information Act request to HUD. [Doc. 16-2, at 12-17]. Ginnie Mae executive, Sandra
Dixon, testified that when it applied to become a Ginnie Mae issuer, FBMC sought only
to issue single-family loans and that FBMC had left blank the boxes to apply to be either
a manufactured housing or a mobile home loan issuer. [Criminal Case No. 3:02cr156,
Trial Tr. Vol. VI, at 1641]. She testified further that she had reviewed FBMC’s file prior
to her testimony and that it contained no application to be a Ginnie Mae manufactured
home loan issuer. [Doc. 16-2, at 12-17; Doc. 16-1, at 31, Trial Tr. Vol. VI, at 1642].

                                           23

  Case 3:02-cr-00156-MOC-DSC         Document 408      Filed 01/18/11    Page 23 of 70
home mortgage loans for Ginnie Mae or fund construction loans through BB

& T is not relevant to the issue of whether the Petitioner and his co-

defendants were authorized to engage in the practices at issue in their trial.

The evidence at trial showed that the defendants created, sold, and pooled

loans made to straw borrowers and for which there were no actual homes

provided as collateral. [Id., Trial Tr. Vol. IV, 1073-81]. Therefore, the loans

that were pooled as Ginnie Mae securities and the loans that were funded

with the BB&T warehouse line of credit did not qualify as FHA single-family

loans, Title I manufactured housing loans, or construction loans. They never

could have been because they were fraudulent. Consequently, it is immaterial

whether the Petitioner or his co-defendants were, in fact, authorized to make,

sell, or pool legitimate loans because that authorization would not extend to

the types of fictitious loans they were creating and selling.

         For the forgoing reasons, the Petitioner cannot show that the

Government suppressed material, exculpatory evidence. His Brady claim

fails.

         3. Improper Appellate Arguments 11

         The       Petitioner    contends      that   counsel     for   the    Government

misrepresented the record on appeal. Specifically, the Petitioner contends


         11
              Alleged in Ground 22 ¶¶ 7 and 9 of the Petitioner’s Motion to Vacate.

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  Case 3:02-cr-00156-MOC-DSC              Document 408     Filed 01/18/11     Page 24 of 70
that the Government misquoted a statement made by his wife, Macy, on direct

appeal; misquoted Eric Brown’s testimony at trial; and misrepresented the

number of houses that the defendants had built during the conspiracy.

      In reviewing a claim of prosecutorial misconduct based upon improper

remarks or arguments, this Court must determine “whether the conduct so

infected the trial with unfairness as to make the resulting conviction a denial

of due process.” United States v. Scheetz, 293 F.3d 175, 185 (4th Cir. 2002),

certiorari denied 537 U.S. 963, 123 S.Ct. 397, 154 L.Ed.2d 320 (2002)

(internal quotation marks and citation omitted).      The test for reversible

prosecutorial misconduct is two-fold. A petitioner must show “(1) that the

prosecutor's remarks or conduct were, in fact, improper and (2) that such

remarks or conduct prejudiced the [petitioner] to such an extent as to deprive

[him] of a fair [proceeding].” United States v. Allen, 491 F.3d 178, 191 (4th

Cir. 2007) (citation omitted).

      In its brief on appeal, the Government argued that "Macy McLean

concedes that her husband ‘avoided auditors, misled others and acted in a

manner that could arise to circumstantial evidence of knowingly participating

in a scheme to defraud.’ App. Br. 32.” [Brief for the United States at 32,

McLean I, supra., (No. 03-4899, 03-4922, 03-4923, 04-4038) 2004 W L

5245323]. As indicated by the citation to the Appellants’ brief, the internal


                                      25

 Case 3:02-cr-00156-MOC-DSC      Document 408   Filed 01/18/11   Page 25 of 70
quote is taken from Macy McLean’s brief on appeal. [Brief of Appellants at

32, McLean, supra. (No. 03-4899, 03-4922, 03-4923, 04-4038) 2004 WL

5245322]. Although he accuses the Government of misquoting his wife,

Petitioner’s own argument belies this assertion. [Doc. 1-1, at 42]. Petitioner

argues that counsel for the Government knew that “[his] wife did not make this

statement and that it was [her] . . . attorney that made this statement.” [Id.].

      It is self-evident that counsel for the Government knew that it was the

wife’s attorney who made the statement in question. It was the attorney, and

not her client, Macy, who drafted and filed the appellate brief on Macy’s

behalf. As to whether her attorney had Macy’s permission to include this

statement in the brief, the Petitioner has failed to cite any evidence that the

Government was privy to such information. He, therefore, cannot show that

the prosecutor’s citation to Macy’s appellate brief was improper.

      The Petitioner also claims that the Government misled the Fourth Circuit

by stating that the conspirators “built only a dozen homes, [and] sold none”

and by stating that “Eric Brown testified that [the Petitioner] explicitly stated

that his ‘investor’ program was not ‘really legal’” [Brief for the United States,

at 19, 30 n.11, McLean, supra. (No. 03-4899, 03-4922, 03-4923, 04-4038)

2004 WL 5245322]. According to the Petitioner, the conspirators built about

30 homes and sold at least five.       The Petitioner also contends that his


                                       26

 Case 3:02-cr-00156-MOC-DSC      Document 408     Filed 01/18/11   Page 26 of 70
statement to Brown about the legality of the investor program was ambiguous,

not explicit.

      The record shows that the Petitioner admitted on cross-examination that

he built only “about 12 houses,” but issued over 100 “investor loans.”

[Criminal Case No. 3:02cr156, Trial Tr. Vol. V, at 1320].                 As for the

Government’s statement about Eric Brown’s testimony, Brown testified that

the Petitioner told him the investor program “was legal, but [ ] not really

legal.” 12 [Id., Trial Tr. Vol. IV, at 871].     Because Government counsel’s

representations were supported by the record and were fair comments on the

evidence at trial, the Petitioner cannot establish prosecutorial misconduct.

E. Ineffective Assistance of Trial and Appellate Counsel

      In Ground 23 of his Motion to Vacate, Petitioner raises 28 claims of

ineffective assistance of trial and appellate counsel. Most are tied in some

way to the substantive claims already addressed in this Order.                       The

Respondent denies that the Petitioner has established a constitutional

violation and has submitted an Affidavit from the Petitioner’s former counsel

in support of its Motion for Summary Judgment. Defense counsel’s affidavit

states, inter alia, that he and associates from his law firm thoroughly


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         The Court notes that the Government’s brief on appeal contains the entire
quotation from Mr. Brown’s testimony. [Brief for the United States, at 20, McLean,
supra., (No. 03-4899, 03-4922, 03-4923, 04-4038) 2004 WL 5245322].

                                          27

  Case 3:02-cr-00156-MOC-DSC        Document 408      Filed 01/18/11   Page 27 of 70
researched the record, transcripts, and associated documents and that he

raised all viable issues on appeal. [Doc. 13-1, at 2].

       The Sixth Amendment requires that "[i]n all criminal prosecutions, the

accused shall enjoy the right . . . to have the Assistance of Counsel for his

defense." U.S. Const. amend. VI. In addition, case law requires that to satisfy

this right, the assistance must be effective. Strickland v. Washington, 466

U.S. 668, 685, 104 S.Ct. 2052, 80 L.Ed.2d 674 (1984) ("An accused is entitled

to be assisted by an attorney, whether retained or appointed, who plays the

role necessary to ensure that the trial is fair.").       This right to effective

assistance of counsel extends to the direct appeal phase of the case as well.

Evitts v. Lucey, 469 U.S. 387, 396, 105 S.Ct. 830, 83 L.Ed.2d 821 (1985) ("A

first appeal as of right . . . is not adjudicated in accord with due process of law

if the appellant does not have the effective assistance of an attorney.").

       In order to establish a claim for relief, the Petitioner must demonstrate

that counsel’s performance was deficient, that is, that it fell below an objective

standard of reasonableness when considered in light of the prevailing norms

of practice and that such deficiency prejudiced him such that there is a

"reasonable probability that, but for counsel’s unprofessional errors, the result

of the proceeding would have been different." Strickland, 466 U.S., at 687-88,

694.    “A reasonable probability is a probability sufficient to undermine


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 Case 3:02-cr-00156-MOC-DSC       Document 408     Filed 01/18/11   Page 28 of 70
confidence in the outcome.” Id.

      In reviewing claims of ineffective assistance of counsel, "[j]udicial

scrutiny of counsel’s performance must be highly deferential"; therefore,

reviewing courts "must indulge a strong presumption that counsel’s conduct

falls within the wide range of reasonable professional assistance . . . ." Id. at

689. Furthermore, the Petitioner "bears the burden of proving Strickland

prejudice," and if he fails to do so "a reviewing court need not consider the

performance prong." Fields v. Attorney Gen. of Md., 956 F.2d 1290, 1297 (4th

Cir. 1992), certiorari denied 506 U.S. 885, 113 S.Ct. 243, 121 L.Ed.2d 176

(1992) (citations omitted). Finally, it must be remembered that "[a] decision

with respect to an appeal is entitled to the same presumption that protects

sound trial strategy." Pruett v. Thompson, 996 F.2d 1560, 1568 (4th Cir.

1993), certiorari denied 510 U.S. 984, 114 S.Ct. 487, 126 L.Ed.2d 437 (1993).

      1. Defective Indictment13 & Constructive Amendment14

      The Petitioner claims that counsel was ineffective for failing to object at

trial and on appeal to what he perceives as defects in and constructive

amendments to the superseding indictment. He contends that Counts 2



      13
         Alleged in Ground 23 ¶ 2; also alleged in Grounds One, Five, and Eight through
Ten of the Petitioner’s Motion to Vacate.
      14
         Alleged in Ground 23 ¶ 1; also alleged in Grounds One, Two, and Five through
Ten of the Petitioner’s Motion to Vacate.

                                          29

  Case 3:02-cr-00156-MOC-DSC        Document 408     Filed 01/18/11   Page 29 of 70
through 21 and 37 through 66 were defective because they failed to include

the required scienter as an essential element of the charged offenses. The

Petitioner contends further that the Court then constructively amended the

offenses charged in the indictment when it gave a scienter instruction to the

jury for each offense. The Petitioner also contends that the Government

constructively amended the indictment when it presented evidence beyond

that noticed in the indictment. In his affidavit, the Petitioner’s counsel states

that he did not raise these objections at trial or on appeal because they are

not supported by law. [Doc. 13-1, at 1].

      To be sufficient, an indictment must contain each of the essential

elements of the charged offense. United States v. Lockhart, 382 F.3d 447,

449 (4th Cir. 2004) (citation omitted). Additionally, it must enable a defendant

to “plead an acquittal or conviction in bar of future prosecutions for the same

offense.” Hamling v. United States, 418 U.S. 87, 117, 94 S.Ct. 2887, 41

L.Ed.2d 590 (1974) (citation omitted).       It is generally sufficient that an

indictment set forth the offense in the words of the statute itself as long as

those words are unambiguous and set forth all of the elements of the offense

charged. Id. (citation omitted).

      A "constructive amendment" of an indictment occurs “‘[w]hen the

government, through its presentation of evidence or its argument, or the


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 Case 3:02-cr-00156-MOC-DSC        Document 408   Filed 01/18/11   Page 30 of 70
district court, through its instructions to the jury, or both, broadens the bases

for conviction beyond those charged in the indictment[.]’” United States v.

Ashley, 606 F.3d 135, 141 (4th Cir. 2010), certiorari denied 131 S.Ct. 428, 79

USLW 3245 (2010), quoting United States v. Malloy, 568 F.3d 166, 178 (4th

Cir. 2009), certiorari denied 130 S.Ct. 1736, 176 L.Ed.2d 212 (2010). "A

constructive amendment is a fatal variance because the indictment is altered

‘to change the elements of the offense charged, such that the defendant is

actually convicted of a crime other than that charged in the indictment.’"

United States v. Randall, 171 F.3d 195, 203 (4th Cir. 1999), quoting United

States v. Schnabel, 939 F.2d 197, 203 (4th Cir. 1991). Any other variance

“does not violate a defendant's constitutional rights unless it prejudices the

defendant either by surprising him at trial and hindering the preparation of his

defense, or by exposing him to the danger of a second prosecution for the

same offense.” Ashley, 606 F.3d at 141, quoting Malloy, 568 F.3d at 178

(internal quotation marks omitted).

            a. Jury Instructions

      The Petitioner contends that Counts 2 through 21, and 37 through 66

are defective because they either are missing the scienter element of the

offenses or because they do not contain the same words to describe the

scienter element as used by the Court when instructing the jury on the


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 Case 3:02-cr-00156-MOC-DSC      Document 408     Filed 01/18/11   Page 31 of 70
scienter element of the offenses. The Petitioner also contends that the Court,

by using words not in the indictment to describe the scienter elements to the

jury, constructively amended the indictment.

      The Petitioner asserts, for example, that Counts 2 through 21, which

allege wire fraud against Fannie Mae and Ginnie Mae and aiding and abetting

in violation of 18 U.S.C. §§ 1343 and 2, are defective for failing to allege that

the “representations, statements or omission in the wire communication were

material to the scheme or artifice [to defraud];” that Counts 37 through 52,

alleging the making and passing of counterfeit mortgage notes in violation of

18 U.S.C. § 1010, are defective because they fail to include the words “aiding

and abetting” and “knowingly and intentionally;” that Counts 53 through 54,

the bank fraud charges, are defective for failing to allege that the false

representations were “material;” and that Counts 55 through 66, the money

laundering charges, are defective for failing to allege “knowingly and

intentionally.” The Petitioner appears to believe that the words quoted above

were required to be included in the indictment because the Court used them

in its charge to the jury. The Petitioner misunderstands the law.

      As an initial matter, each of the offenses tracked the language of the

statute charged and contained the required scienter elements. Counts 2

through 21, the wire fraud counts, allege the defendants “did knowingly and


                                       32

 Case 3:02-cr-00156-MOC-DSC      Document 408     Filed 01/18/11   Page 32 of 70
willfully devise and intend to devise a scheme and artifice to defraud” and to

obtain money and property by means of “material false and fraudulent

pretenses.” [Criminal Case No. 3:02cr156, Doc. 45, at ¶¶ 50-55]. Counts 37

through 52 allege the named defendants made and passed counterfeit

mortgage notes “knowing them to be false” and “counterfeited.” [Id., Doc. 45,

at ¶¶ 60-61]. Counts 55 through 66, the money laundering counts, state that

the Petitioner and his wife “knowingly” conducted or “willfully” caused another

to conduct certain financial transactions when they “knew” said transactions

involved the proceeds of specified unlawful activities, intending that the

transactions would promote the mortgage fraud scheme described throughout

the introductory paragraphs and Count One of the indictment. [Id., Doc. 45,

at ¶¶ 64-66].

      Finally, Counts 53 and 54, the bank fraud counts, allege that the named

defendants “did knowingly execute and attempt to execute a scheme and

artifice to defraud BB&T.” [Id., Doc. 45, at ¶¶ 62-63]. Furthermore, the fact

that Counts 53 and 54 did not contain the word “material” did not render the

indictment defective. The Supreme Court has held that materiality is an

element of a scheme or artifice to defraud under the mail, wire, and bank

fraud statutes and that the jury must be so instructed. United States v. Neder,

527 U.S. 1, 25, 119 S.Ct. 1827, 144 L.Ed.2d 35 (1999). In the absence of the


                                      33

 Case 3:02-cr-00156-MOC-DSC     Document 408    Filed 01/18/11   Page 33 of 70
word “material” or “materiality,” however, an allegation of fraud in the

indictment will be sufficient to pass constitutional muster, as long as the facts

alleged in the indictment warrant an inference of materiality. United States v.

Saybolt, 577 F.3d 195, 205 (3rd Cir. 2009), certiorari denied 130 S.Ct. 1107,

78 USLW 3393 (2010), citing United States v. Creech, 408 F.3d 264, 269 (5th

Cir. 2005), certiorari denied 546 U.S. 1050, 126 S.Ct. 777, 163 L.Ed.2d

602(2005) (internal quotations and citation omitted); United States v.

McAuliffe, 490 F.3d 526, 532 (6th Cir. 2007), certiorari denied 552 U.S. 976,

128 S.Ct. 442, 169 L.Ed.2d 309 (2007); United States v. Ladum, 141 F.3d

1328, 1334 (9th Cir. 1998), certiorari denied 525 U.S. 1021, 119 S.Ct. 549,

142 L.Ed.2d 457 (1998); United States v. Adler, 623 F.2d 1287, 1292 n. 6 (8th

Cir. 1980) (holding that the indictment was not defective for failing to use the

word “materiality” because “sufficient facts are alleged to establish

materiality”); United States v. Kirby, 587 F.2d 876, 882 (7th Cir. 1978)

(rejecting a claim that the indictment was insufficient for failing to allege

materiality because, based on the facts alleged, “[t]he materiality of the false

statements is self-apparent”).    Here, Counts 53 and 54 incorporated by

reference paragraphs one through nine of the Introduction and each of the

allegations made in Count One, which alleged sufficient facts to establish

materiality. Therefore, the indictment was not defective. Creech, 408 F.3d at


                                       34

 Case 3:02-cr-00156-MOC-DSC      Document 408     Filed 01/18/11   Page 34 of 70
269, citing United States v. Richards, 204 F.3d 177, 191-93 (5th Cir. 2000),

certiorari denied 531 U.S. 826, 121 S.Ct. 73, 148 L.Ed.2d 36 (2000), overruled

on other grounds United States v. Longoria, 298 F.3d 367, 371 n.6 (5th Cir.

2002), certiorari denied 537 U.S. 1038, 123 S.Ct. 573, 154 L.Ed.2d 459

(2002) (wire fraud counts that incorporated allegations from conspiracy count

sufficiently warranted inference of materiality of misrepresentation). Thus, the

Court’s instruction that the defendants’ misrepresentations to BB&T must be

“material” was proper and did not constructively amend the indictment.

      Likewise, the fact that the Court instructed the jury on aiding and

abetting does not render the indictment defective or constructively amended

with respect to Counts 37 through 52. Although they do not contain the words

“aiding and abetting,” a review of the superseding indictment reveals that

Counts 37 through 52 were preceded and followed by specific citation to 18

U.S.C. § 2, the aiding and abetting statute. [Criminal Case No. 3:02cr156,

Doc. 45, at ¶¶ 60-61]. Furthermore, aiding and abetting is implied in every

federal indictment of a substantive offense. Ashely, 606 F.3d at 143, citing

United States v. Wills, 346 F.3d 476, 495 (4th Cir. 2003), certiorari denied 552

U.S. 925, 128 S.Ct. 301, 169 L.Ed.2d 816 (2004). The reason for this is that

aiding and abetting merely describes the way in which a defendant's conduct

resulted in the violation of a particular law; it does not set forth an essential


                                       35

 Case 3:02-cr-00156-MOC-DSC      Document 408     Filed 01/18/11   Page 35 of 70
element of the offense with which the defendant is charged or itself create a

separate offense. Id. , citing United States v. Thirion, 813 F.2d 146, 151 (8th

Cir. 1987).   Therefore, aiding and abetting need not be charged in an

indictment for an instruction on it to be given at trial. Id.

      The law also does not require that the words “willful blindness” appear

in the charged offense before a court may instruct on how that legal theory

might apply to the facts of the case. Rather, “[a] willful blindness instruction

is proper ‘when the defendant asserts a lack of guilty knowledge but the

evidence supports an inference of deliberate ignorance.’” McLean I, 131 Fed.

Appx. at 38, quoting United States v. Abbas, 74 F.3d 506, 513 (4th Cir. 1996),

certiorari denied 517 U.S. 1229, 116 S.Ct. 1868, 134 L.Ed.2d 965 (1996).

The Fourth Circuit specifically found that the Court’s “willful blindness”

instruction was proper in this case. See McLean I, 131 Fed.Appx. at 40.

      The indictment in this case passes constitutional muster in that it was

sufficient to put the Petitioner on notice of the offenses charged and to bar any

future prosecutions for the same crimes.           Hamling, 418 U.S. at 117.

Furthermore, each of the Court’s instructions challenged by Petitioner either

tracked the language of the statute or pertained to an issue not required to be

alleged in the indictment. United States v. Wills, 346 F.3d 476, 494 & n.13

(4th Cir. 2003), certiorari denied 542 U.S. 939, 124 S.Ct. 2906, 159 L.Ed.2d


                                        36

 Case 3:02-cr-00156-MOC-DSC       Document 408     Filed 01/18/11   Page 36 of 70
816 (2004). While the Court‘s instructions may have included different words

to explain the required scienter to the jury, that does not mean the indictment

was defective or that it was constructively amended.         Consequently, the

Petitioner cannot show that counsel was ineffective for failing to raise these

issues at trial or on appeal. Strickland, 466 U.S. at 687-88, 694.

            b. Government’s Evidence

      The Petitioner also contends that the Government constructively

amended the superseding indictment by presenting evidence to the jury that

deviated from the specific allegations in the charged offenses. However, not

all differences between an indictment and proof at trial rise to the level of a

constructive amendment. Randall, 171 F.3d at 203 (citation omitted). When

different evidence is presented at trial than specified in the indictment, but

such evidence does not otherwise alter the crime charged in the indictment,

a mere variance occurs. Id.

      In this case, the evidence presented at trial did not alter, in any way, the

crimes charged in the indictment. The superseding indictment charged a

broad scheme to defraud Fannie Mae, Ginnie Mae, and BB&T, as well as

investors in the secondary mortgage market, and to launder the proceeds of

that scheme. [Criminal Case No. 3:02cr156, Doc. 45, at ¶¶ 10-49]. In Counts

Two through Ten, the indictment charged the Petitioner with devising a


                                       37

 Case 3:02-cr-00156-MOC-DSC       Document 408    Filed 01/18/11   Page 37 of 70
scheme to defraud Fannie Mae which was executed through the use of

interstate wire transmissions, that is, the transfer of funds from Fannie Mae

to FBMC’s bank accounts. [Id., Doc. 45, at ¶¶ 50-52]. The Petitioner contends

that the Government constructively amended the indictment by introducing

evidence that he and his co-defendants transmitted false mortgage notes and

assignments to Fannie Mae. However, the introductory paragraphs of the

superseding indictment, as well as Count One (overarching conspiracy

allegation), are specifically incorporated into Counts Two through Ten by

reference. [Id., Doc. 45, at ¶ 50]. Paragraphs 12 through 14 and 22 of Count

One allege the defendants made and sold 31 false mortgage notes to Fannie

Mae. Therefore, contrary to the Petitioner’s argument, the indictment did

allege that he and his co-defendants made false mortgage notes and

assignments.

     Likewise, in Counts 37 through 52, the indictment charged that the

Petitioner and his co-defendants made and passed false statements and

counterfeit notes knowing they would be insured by HUD. [Id., Doc. 45, at ¶¶

60-61]. The Petitioner contends that the Government constructively amended

the indictment by introducing evidence that he and his co-defendants passed

counterfeit notes to HUD. Paragraphs 16 and 23 through 34 of Count One,

however, specifically allege that the conspirators made and sold in excess of


                                     38

 Case 3:02-cr-00156-MOC-DSC     Document 408   Filed 01/18/11   Page 38 of 70
$21 million in false mortgage notes to Ginnie Mae, a corporation that is wholly

owned by the United States and administered by HUD. Again, Count One is

incorporated into Counts 37 through 47 by reference. [Id., Doc. 45, at ¶ 60].

Therefore, contrary to the Petitioner’s argument, the indictment did allege that

he and his co-defendants made and passed counterfeit mortgage notes.

      The Petitioner makes similar allegations with respect to Counts 22

through 32 and Counts 55 through 66. They are equally without merit. Again,

Count One was incorporated by reference into each of these counts. [Id.,

Doc. 45, at ¶¶ 56 & 64]. Paragraphs 23 through 34 of Count One specifically

allege how the Petitioner made false statements to an agency of the United

States (HUD).    Paragraph 28 identifies wire transfers to FBMC from the

investors who purchased the Ginnie Mae mortgage-backed securities at

issue. Paragraphs 47 through 49 describe wire transfers and disbursements

made by FBMC for the purpose of concealing their false note scheme.

Therefore, contrary to the Petitioner’s arguments, the Government did not

constructively amend the indictment by presenting evidence of the wire

transfers or their disbursements.

      Finally, the Petitioner contends that the Government constructively

amended the indictment by introducing evidence of actual losses suffered by

Ginnie Mae when loss was not an essential element of any of the crimes


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 Case 3:02-cr-00156-MOC-DSC      Document 408    Filed 01/18/11   Page 39 of 70
charged in the indictment. The Petitioner’s claim is belied by the record.

      The Government did not introduce evidence of how much money Ginnie

Mae lost due to FBMC’s fraud. Instead, the Government offered evidence of

how much money Ginnie Mae reimbursed Market Street – the loan servicer

who took over FBMC’s loans. The trial testimony concerned loans for which

Market Street could not collect past due payments or find collateral to

foreclose. [Id., Trial Tr. Vol. IV, at 1087-94]. Specifically, Market Street’s

representative testified that it could not collect on most FBMC loans because

it could not locate many of the borrowers named on the loans issued by

FBMC and found "bad addresses" when it tried to foreclose on the collateral

listed on FBMC loan documents. [Id., Trial Tr. Vol. IV, at 1091-93]. The

testimony of Market Street’s representative that Ginnie Mae paid out over $23

million by the time of trial was relevant to the charged conspiracy and money

laundering counts.   It also was relevant to whether the fraudulent loans

affected HUD. Moreover, this evidence rebutted the conspirators’ claim that

they did not knowingly commit fraud, but instead made manufactured home

loans which were authorized by Ginnie Mae.

      The Government’s evidence did not improperly broaden the offenses

charged in the indictment. Instead, the evidence offered at trial tracked the

indictment and proved the Petitioner’s guilt on the charged offenses beyond


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 Case 3:02-cr-00156-MOC-DSC     Document 408    Filed 01/18/11   Page 40 of 70
a reasonable doubt. United States v. Ward, 486 F.3d 1212, 1228 (11th Cir.

2007), certiorari denied 552 U.S. 960, 128 S.Ct. 398, 169 L.Ed.2d 280 (2007)

(indictment alleging mail fraud and wire fraud counts was not constructively

amended by incorporation of a charged conspiracy by reference).

Consequently, counsel was not ineffective for failing to challenge the evidence

at trial or to raise this issue on appeal. Strickland, 466 U.S. at 687-88, 694.

      2. Multiplicitous Indictment15

      The Petitioner contends that counsel was ineffective for failing to object

to Counts Nine and 10, 37 through 41, 43 and 44, and 46 through 52 because

they are multiplicitious. He contends that Counts Nine and 10 are multiplicitous

because the loans secured by the two addresses in those Counts were sold to

Fannie Mae under the same contract. He claims that the other counts are

multiplicitous because the counterfeit mortgage notes alleged separately in

each of these counts were sold to Ginnie Mae investors in the same pools.

      Multiplicity occurs when a single offense is charged in more than one

count in an indictment. United States v. Goodine, 400 F.3d 202, 207 (4th Cir.

2005), citing United States v. Burns, 990 F.2d 1426, 1438 (4th Cir. 1993),

certiorari denied 508 U.S. 967, 113 S.Ct. 2949, 124 L.Ed.2d 696 (1993). The



      15
         Alleged in Ground #23, ¶ 3; also alleged in grounds 11-12 and 12b of the
Petitioner’s Motion to Vacate.

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  Case 3:02-cr-00156-MOC-DSC        Document 408      Filed 01/18/11   Page 41 of 70
primary danger of a multiplicitous indictment is that a defendant “may be given

multiple sentences for the same offense.” Burns, 990 F.2d at 1438.

      Counts Nine and Ten allege two separate violations of 18 U.S.C. § 1343,

the wire fraud statute. Under § 1343, “wire fraud requires proof beyond a

reasonable doubt that (1) the defendant participated in a scheme or artifice to

defraud; (2) with the intent to defraud; and (3) used or caused the use of,

interstate wire transmissions for the purpose of executing the scheme or artifice

to defraud.” United States v. Williams, 527 F.3d 1235, 1240 (11th Cir. 2009).

Unlike some other fraud statutes, however, § 1343 targets the execution of the

scheme to defraud, not the creation of the scheme itself. Id. at 1241. “When

an act is ‘chronologically and substantively independent’ from the other acts

charged as the scheme, it constitutes an execution.” United States v. Colton,

231 F.3d 890, 909 (4th Cir. 2000). Consequently, the statute “punishes each

interstate wire transmission that carries out [the] scheme.” Williams, 527 F.3d

at 1240, citing Sibley v. United States, 344 F.2d 103, 105 (5th Cir. 1965),

certiorari denied 382 U.S. 945, 86 S.Ct. 405, 15 L.Ed.2d 354 (1965).

      Count Nine of the superseding indictment charged that the defendants

caused Fannie Mae to wire a payment to FBMC on October 1, 1998, for

purposes of a fraudulent loan purportedly secured by a residence located at

9101 Crosstimbers. [Criminal Case No. 3:02cr156, Doc. 45, at ¶ 52]. Count 10


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 Case 3:02-cr-00156-MOC-DSC      Document 408    Filed 01/18/11   Page 42 of 70
charged that the defendants caused a separate wire transfer on October 5,

1998, for the purchase of a different fraudulent loan purportedly secured by a

residence at 9001 Penstemmons. Id. The Petitioner contends that these two

loans were sold to Fannie Mae together as part of one contract, funded

together under one purchase advice, and shipped together as one loan

package. Therefore, according to the Petitioner, they constituted only one

alleged violation of § 1343. Each wire transfer, however, was made on a

different day to secure a different fraudulent loan secured by a different

property. Consequently, each wire transfer constituted a separate execution

to further the scheme to defraud Fannie Mae, and Counts Nine and 10 were not

multiplicitous. Colton, 231 F.3d at 909.

     Counts 37 through 52 charge that the defendants made, passed and

uttered different counterfeit mortgage notes. [Criminal Case No. 3:02cr156,

Doc. 45, at ¶¶ 60-61]. The Petitioner contends that because the mortgage

notes identified in Counts 37 through 39 were sent together in one pool,

submitted on the same day in a single data file, and shipped as a single loan

package, he should have been charged with only one count of violating 18

U.S.C. § 1010, not three. He makes the same contention with respect to

Counts 40 and 41, Counts 43 and 44, Counts 47and 48, and Counts 49 through

52. However, 18 U.S.C. § 1010 punishes "whoever . . . makes, passes [or]


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 Case 3:02-cr-00156-MOC-DSC     Document 408   Filed 01/18/11   Page 43 of 70
utters . . . any statement, knowing the same to be false . . .or counterfeits any

instrument . . . or utters, publishes, or passes as true any instrument, paper, or

documents, knowing it to have been . . . counterfeited." (emphasis provided).

Like the wire fraud statute, it is clear from § 1010 that Congress intended that

the making of each false or counterfeit document would constitute a separate

violation of the law. Bins v. United States, 331 F.2d 390, 393 (5th Cir. 1964),

certiorari denied 379 U.S. 880, 85 S.Ct. 149, 13 L.Ed.2d 87 (1964) (holding that

the filing of two different false documents in the same transaction constituted

two crimes under 18 U.S.C. § 1010). “Whether a continuous transaction results

in the commission of but a single offense or separate offenses is not dependent

on the number of unlawful motives in the mind of the accused, but is

determined by whether separate and distinct prohibited acts, made punishable

by law, have been committed.” Id.

      Each of Counts 37 through 52 specifically describes a different

promissory note that was "made, passed or uttered," each on a different date.

[Criminal Case No. 3:02cr156, Doc. 45, at ¶ 61]. Each promissory note was

issued in the name of a different borrower, and secured by a different property.

Id. At trial, the Government introduced into evidence copies of each of the

counterfeit notes charged in Counts 37 through 52. In short, the indictment and

evidence at trial showed that Counts 37 through 52 arose from separate


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 Case 3:02-cr-00156-MOC-DSC      Document 408    Filed 01/18/11   Page 44 of 70
counterfeit mortgages, and that each, therefore, constituted a separate violation

of § 1010. Consequently, the Petitioner’s claim that his counsel was ineffective

for failing to challenge these Counts on the grounds of multiplicity at trial and

on appeal is without merit. Strickland, 466 U.S. at 687-88, 694.

      The Petitioner also claims that counsel should have challenged Counts

37 through 52 as multiplicitous at sentencing. For the reasons articulated in the

preceding paragraphs, there is no legal or factual basis to support the

Petitioner’s claim that these counts were multiplicitous or that the sentences

imposed violated the Double Jeopardy clause of the Constitution. Therefore,

the Petitioner’s claim that counsel was ineffective for raising this issue at

sentencing is without merit. Id.

      3. Duplicitous Indictment16

      Next, the Petitioner contends that counsel was ineffective for failing to

challenge various counts in the indictment as duplicitous. “Duplicity” is the

joining together of two or more distinct and separate offenses in a single count.

United States v. Hawkes, 753 F.2d 355, 357 (4th Cir. 1985). Where a statute

provides more than one means of committing the same offense, the policy

against duplicity does not prohibit the Government from charging more than



      16
         Alleged in Ground #23 ¶ 16; also alleged in grounds 3-4, 19a & b of the
Petitioner’s Motion to Vacate.

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  Case 3:02-cr-00156-MOC-DSC        Document 408      Filed 01/18/11   Page 45 of 70
one of those means in the conjunctive, in one count. United States v. Brandon,

298 F.3d 307, 314 (4th Cir. 2002) (citations omitted); see also, Fed. R. Crim. P.

7(c) (a single count may allege that a defendant committed an offense by one

or more means).      Furthermore, a guilty verdict will stand if the evidence

presented at trial is sufficient with respect to any one of the acts charged.

Brandon, 298 F.3d at 314 (citations omitted). The rule against duplicity also

does not prevent an indictment from alleging more than one act in a single

count if the acts are part of a continuous course of conduct. United States v.

Smith, 373 F.3d 561, 563-64 (4th Cir. 2004), certiorari denied 543 U.S. 1123,

125 S.Ct. 1048, 160 L.Ed.2d 1073 (2005).

      Petitioner’s duplicity claims appear to fall into two categories: (1) single

counts that allege the submission of more than one HUD form (Counts 11

through 21 and 22 through 32); and (2) single counts that appear to allege more

than one purpose for committing the same offense (Counts 37 through 52).

Counts 11 through 21 and 22 through 32 each allege an offense – wire fraud

or making false statements – with respect to different Ginnie Mae mortgage-

backed security pools. [Criminal Case No. 3:02cr156, Doc. 45, at ¶¶ 53-57].

The Petitioner contends that it was improper to allege in each count that the

defendants transmitted, or made false statements on, HUD forms 11705 and

11706 because they are two separate forms. FBMC, however, could not issue


                                       46

 Case 3:02-cr-00156-MOC-DSC      Document 408    Filed 01/18/11   Page 46 of 70
a Ginnie Mae mortgage-backed certificate and collect the investors’ funds until

it had submitted both forms. It is not relevant when or how these forms were

submitted to Ginnie Mae since both were required before FBMC could receive

funds for the fraudulent mortgages it pooled.       Conversely, there was no

possibility that the Petitioner could have been convicted or acquitted on the

submission of one form, but not the other. In short, each of Counts 11 through

21 and 22 through 32 allege a continuous course of conduct with respect to a

different mortgage pool and none is duplicitous.

      Counts 37 through 52, on the other hand, allege the making and passing

of false statements and counterfeit mortgage notes to HUD in violation 18

U.S.C. § 1010. [Id., Doc. 45, at ¶¶ 60-61]. The Petitioner contends that the

indictment was duplicitous because each of these counts charged the

defendants both with making and passing false statements and counterfeit

notes with the intent that false mortgage notes be accepted by HUD for

insurance-backing and with making and passing false statements and

counterfeit notes with the intent to influence the actions of HUD with respect to

Ginnie Mae’s guarantee of mortgage notes placed in mortgage-backed

securities pools. In other words, because the indictment, according to the

Petitioner, alleged two different purposes behind the making and passing of

false statements and counterfeit notes, each of Counts 37 through 52 is


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 Case 3:02-cr-00156-MOC-DSC      Document 408    Filed 01/18/11   Page 47 of 70
duplicitous because each alleges two different violations of the same statute.

      Section 1010 is comprised of multiple clauses in the disjunctive. Tripp v.

United States, 381 F.2d 320, 321 (9th Cir. 1967). Rules of federal pleading

require the government to charge in the conjunctive in such instances. United

States v. Montgomery, 262 F.3d 233, 242 (4th Cir. 2001), certiorari denied 534

U.S. 1034, 122 S.Ct. 576, 151 L.Ed.2d 448 (2001) (citations omitted).

      The essence of a violation of § 1010 is the knowing use of false

documents for the purpose of influencing HUD. Bins, 331 F.2d at 392 (citations

omitted); United States v. Berenstein, 533 F.2d 775, 787 (2nd Cir. 1976),

certiorari denied 429 U.S. 998, 97 S.Ct. 523, 50 L.Ed.2d 608 (1976). Because

the statute is in the disjunctive, an allegation of more than one purpose for

influencing HUD does not render the indictment duplicitous. Tripp, 381 F.2d at

321 (holding that an indictment’s failure to list all of § 1010's articulated

purposes for influencing housing authority did not render the indictment

defective). Furthermore, a guilty verdict will stand if the evidence presented at

trial was sufficient to show that the defendant knowingly used false documents

to influence HUD. Brandon, 298 F.3d at 314 (citations omitted).

      There is no legal or factual basis to support the Petitioner’s claim that

subject counts in the indictment were duplicitous. Therefore, the Petitioner’s

claim that his counsel was ineffective for failing to raise this issue at trial and on


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  Case 3:02-cr-00156-MOC-DSC       Document 408     Filed 01/18/11   Page 48 of 70
appeal must fail. Strickland, 466 U.S. at 687-88, 694.

      4. Challenges to Counsel’s Trial and Appellate Strategy

      The Petitioner asserts a litany of ineffective assistance of counsel claims

regarding counsel’s trial strategy that amount to nothing more than second-

guessing a reasonable trial strategy. "A decision consistent with a reasonable

trial strategy cannot support a claim of ineffective assistance of counsel."

Strickland, 466 U.S. at 689.

      At trial, the Petitioner’s strategy was to convince the jury that his actions

were consistent with his understanding of proper mortgage practice and that he

did not intend to violate the law. To that end, the Petitioner testified on his own

behalf, and his counsel actively cross-examined Government witnesses. Even

if the Petitioner could show that his counsel was deficient in some respect at

trial, he cannot show a “reasonable probability” of a different result sufficient to

meet Strickland’s prejudice prong. Id., at 694.

                a. Failure to Present Certain Evidence 17

      The Petitioner claims that trial counsel was ineffective for failing to

introduce FBMC’s Title I application and approval letter, which, according to

him, would have shown that it had approval from HUD to issue loans for

manufactured homes.            The Petitioner also claims that trial counsel was


      17
           Alleged in Ground #23, ¶¶ 5-6, 12, and 25 of the Petitioner’s Motion to Vacate.

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 Case 3:02-cr-00156-MOC-DSC            Document 408      Filed 01/18/11   Page 49 of 70
ineffective for failing to introduce FBMC’s business plan and loan request letter

to BB & T for a warehouse line of credit, which, according to him, would have

shown that BB & T knew that FBMC was issuing construction loans and loans

for manufactured housing.

      For the reasons stated in the section of this Order denying the Petitioner’s

Brady claim, he has failed to show that counsel was deficient for failing to

introduce these documents at trial. Strickland, 466 U.S. at 687-88. Likewise,

he has failed to show that there is a reasonable probability that had counsel

introduced them, the outcome of the Petitioner’s trial could have been different.

Id. at 694.

      The Petitioner also faults counsel for failing at trial to “state” a laundry list

of facts that supposedly showed that the Petitioner acted in good faith and that

the Government failed to prove that he acted with specific intent or willful

blindness.    This claim is wholly without merit, as the only evidence the

Petitioner points to that supposedly showed his good faith is evidence that his

attorney introduced at trial or elicited on cross-examination or that the

Government introduced at trial. In short, he has failed to identify any actions

counsel failed to take at trial to demonstrate the Petitioner’s good faith belief

that the investor program was legal and that he had no intent to act illegally.

      The Petitioner also claims that counsel was ineffective for “failing to


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 Case 3:02-cr-00156-MOC-DSC        Document 408     Filed 01/18/11   Page 50 of 70
subpoena evidence from Fannie Mae, Ginnie Mae, and Hud [sic], when asked

by Movant to do so several time [sic].” [Doc. 1-1, at 53]. The Petitioner fails to

identify the evidence that counsel could have subpoenaed and also fails to

demonstrate that there is a reasonable probability that presentation of that

evidence would have resulted in an acquittal. Such a vague allegation does not

create a claim of ineffective assistance of counsel. Rules Governing § 2255

Proceedings, Rule 2.

             b. Failure to Impeach Government Witnesses 18

      The Petitioner claims that counsel was ineffective for failing to “impeach

the perjured testimony” of FBMC employee Sharon Abrams with evidence that

she had access to HUD manuals, regulations and forms via the Internet. This

claim is without merit. As previously discussed, not only has the Petitioner

failed to show that Abrams’ testimony was perjured, but the jury heard the

evidence that the Petitioner claims should have been presented through

impeachment.

      The Petitioner testified in his direct examination that all FBMC employees

had ready access to Fannie Mae and Ginnie Mae manuals via the internet at

their desks and that such materials were available "on websites offered to the



      18
        Alleged in Ground 23 ¶¶ 7-10, 13-14, 18-19, and 22-23 of the Petitioner’s
Motion to Vacate.

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  Case 3:02-cr-00156-MOC-DSC        Document 408     Filed 01/18/11    Page 51 of 70
public." [Criminal Case No. 3:02cr156, Trial Tr. Vol. V, at 1237]. Further,

Abrams testified that although she did not have access to the internet, she

could review hard copies of the manuals, but she had to borrow them from

either Richiedean Gess or Petitioner. [Id., Trial Tr. Vol. II, at 271-72]. She also

testified that when her job changed within FMBC she asked the Petitioner for

manuals to help her set up her new department and that he gave her a box of

quality control manuals, which she kept. [Id., Trial Tr. Vol. II, at 295]. In fact,

one of the manuals warned that "straw borrowers schemes" are illegal. [Id.,

Trial Tr. Vol. II, at 297]. The Petitioner has not established that counsel was

ineffective with respect to his handling of Sharon Abrams. Strickland, 466 U.S.

at 687-88, 694.

      Next, the Petitioner contends that counsel was ineffective for failing to

impeach “the false testimony” of former FBMC underwriter and co-defendant

Richiedean Gess that she was not consulted about underwriting the FBMC’s

construction loan program.       Once again, however, the Petitioner cannot

establish prejudice. Strickland, 466 U.S. at 694.

      Not only has the Petitioner failed to show that Gess’s testimony was

perjured, but the jury heard the evidence that the Petitioner claims should have

been presented through impeachment. As the Petitioner acknowledges in his

Motion to Vacate, witness Barbara Byard testified that the construction loan


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 Case 3:02-cr-00156-MOC-DSC      Document 408     Filed 01/18/11   Page 52 of 70
program was put together by the underwriters. Furthermore, the Petitioner –

himself an FHA certified underwriter – testified that he had consulted Gess

about FBMC’s "investor program" when the loans were sold to Fannie Mae.

[Id., Trial Tr. Vol. V, at 1322].

      The Petitioner also claims that counsel was ineffective for failing to call

former FBMC employee Keith Jeffries as a defense witness to impeach Gess’s

testimony that she knew that FBMC’s pooling practices were illegal.                    The

Petitioner contends that Jeffries would have testified that Gess told him FBMC’s

pooling practices were approved in the Ginnie Mae manual.                          As the

Government points out in its Motion for Summary Judgment, however, the fact

that Gess allegedly told Jeffries, FBMC’s Chief Financial Officer at the time, that

the pooling practices were lawful would not establish that she did not, in fact,

know that the practices were unlawful. Consequently, the Petitioner cannot

show that he was prejudiced by counsel’s decision not to call Jeffries as a

witness.19 Strickland, 466 U.S. at 694.

      The Petitioner next contends that counsel was ineffective for failing to


      19
         The Court notes that Jeffries also told the FBI several facts that could have
undermined both the Petitioner’s defense and the defense of his wife, Macy, including
that the Petitioner maintained a private portfolio of loans that he had not yet sold that
was worth several million dollars [Doc. 16-1, at 5]; that he (Jeffries) became suspicious
of FBMC’s source of assets in July, 2000 [Doc. 13-17, at 1-2]; that Macy McLean
controlled the funding at FBMC, [Id.]; and that Macy was responsible for selling the
lots/houses for the Ginnie Mae pools, while Petitioner had final approval over all of the
loans. [Id.].

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  Case 3:02-cr-00156-MOC-DSC         Document 408      Filed 01/18/11    Page 53 of 70
rebut the testimony of Ginnie Mae account executive Sandra Dixon that two

annual HUD verification forms submitted by FBMC were not legitimate Ginnie

Mae forms.     The Petitioner argues that the documents were critical to

establishing his good faith belief that the forms authorized FBMC to pool loans

for mobile and manufactured homes. A review of the record reveals that the

Petitioner suffered no prejudice from counsel’s alleged failure.

      Sandra Dixon testified that the "mobile" and "manufactured housing"

blocks on FBMC’s application to become a Ginnie Mae issuer were not

checked; that she never told James McLean that it was permissible to pool

manufactured home loans in single-family loan pools; and that Ginnie Mae

stopped accepting applications to become a manufactured home loan issuer

in the mid-1980's. [Criminal Case No. 3:02cr156, Trial Tr. Vol. VI, at 1641-43].

Consequently, even if counsel had refuted that the HUD verification forms were

not Ginnie Mae forms, it would have had no impact on the Petitioner’s defense

because it was tangential to the import of Ms. Dixon’s testimony that FBMC’s

application to become a Ginnie Mae issuer clearly omitted any reference to

mobile and manufactured housing. Furthermore, the Petitioner cannot show

that had counsel pressed Ms. Dixon on the point about the forms, she would

have provided testimony sufficiently helpful to him to create a reasonable

probability of a different result. Strickland, 466 U.S. at 694.


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 Case 3:02-cr-00156-MOC-DSC      Document 408     Filed 01/18/11   Page 54 of 70
      On a related issue, the Petitioner claims that counsel was ineffective for

failing to call Mike Garcia, a Ginnie Mae account executive, as a defense

witness to rebut Ms. Dixon’s testimony that manufactured housing loans could

not be placed in single-family loan pools. Here, once again, the Petitioner

cannot establish either prong of the Strickland test. Garcia told FBI agents in

a telephonic interview that he recalled being asked by other Ginnie Mae

employees, including Ingrid Ripley, about the appropriateness of placing

manufactured housing loans into single family mortgage pools. [Doc. 16-1, at

9]. Garcia told the FBI agents that such homes could be placed in a Ginnie

Mae pool if they were "stick-built and are permanent."        Id.    Ingrid Ripley,

testifying for the Government, stated that she took a call from the Petitioner on

May 11, 2000, in which he asked a similar question about manufactured

housing loans. [Criminal Case No. 3:02cr156, Trial Tr. Vol. VI, at 1647]. Ripley

testified that she told the Petitioner that Title I and II manufactured housing

loans could be placed in Ginnie Mae pools under certain conditions. [Criminal

Case No. 3:02cr156, Trial Tr. Vol. VI, at 1648]. Ms. Ripley also testified that

Ginnie Mae had not approved anyone or any entity as a manufactured housing

mortgage-backed securities issuer since before 1996, which was consistent

with Ms. Dixon’s testimony. [Criminal Case No. 3:02cr156, Trial Tr. Vol. VI, at

1642-43,1649]. Furthermore, Mike Garcia told FBI agents that Ginnie Mae did


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 Case 3:02-cr-00156-MOC-DSC      Document 408    Filed 01/18/11     Page 55 of 70
not pool Title I loans, which also was consistent with Ms. Dixon’s testimony

[[Doc. 16-1,at 9]. The Petitioner cannot show that had counsel called Garcia

as a defense witness, he would have provided testimony sufficiently helpful to

Petitioner to create a reasonable probability of a different result. Strickland, 466

U.S. at 694.

      In his next claim, the Petitioner contends counsel was ineffective for

failing to impeach witness Eric Brown with respect to several alleged

inconsistencies in his testimony. The only evidence Petitioner cites to support

this assertion, however, is other testimony by Brown. Because the jury had the

benefit of having heard Brown’s allegedly inconsistent statements before

making its credibility determinations, the Petitioner cannot prove that he was

prejudiced by counsel’s alleged failure. Strickland, 466 U.S. at 694.

      In a related claim, the Petitioner contends that counsel should have

moved to suppress Brown’s testimony, as well as that of his father. It appears

that the Petitioner believes counsel should have moved to suppress on the

grounds that the testimony concerned transactions not alleged in the

indictment. Such a motion, however, would not have been successful. Eric

Brown testified on direct examination that he and his father met with Debbie

and Paul Zimmerman and the Petitioner to discuss FBMC’s financing for the

development of a track of land owned by Brown and his family. [Criminal Case


                                        56

 Case 3:02-cr-00156-MOC-DSC       Document 408     Filed 01/18/11   Page 56 of 70
No. 3:02cr156, Trial Tr. Vol. IV, at 861-63].          When Debbie Zimmerman

presented them with completed mortgage loan notes in the names of their

family members and several people that they did not know, Mr. Brown and his

father refused to sign until they could show the documents to their attorney.

[Criminal Case No. 3:02cr156, Trial Tr. Vol. IV, at 868]. Debbie Zimmerman

would not permit Mr. Brown or his father to leave the premises with the

completed loan agreements. [Criminal Case No. 3:02cr156, Trial Tr. Vol. IV,

at 870]. When the Petitioner arrived at the meeting, he also said the notes

could not leave the office and stated "Look, this – this is legal, but it’s not really

legal." [Criminal Case No. 3:02cr156, Trial Tr. Vol. IV, at 871].

      This evidence was admissible because it occurred during the life of the

alleged conspiracy and involved the same scheme to defraud. It showed the

existence of a conspiratorial agreement between the charged defendants as

charged in Count One, and it described additional overt acts that occurred in

furtherance of that conspiracy. United States v. Janati, 374 F.3d 263, 270 (4th

Cir. 2004) (“It is well established that when seeking to prove a conspiracy, the

government is permitted to present evidence of acts committed in furtherance

of the conspiracy even though they are not all specifically described in the

indictment.”).

      Moreover, the law is clear that “‘[e]vidence of other crimes, wrongs, or


                                         57

 Case 3:02-cr-00156-MOC-DSC        Document 408     Filed 01/18/11   Page 57 of 70
acts’ that is not intrinsic to the crime may still be admissible if it demonstrates

‘proof of motive, opportunity, intent, preparation, plan, knowledge, identity, or

absence of mistake or accident.’” United States v. Higgs, 353 F.3d 281, 311

(4th Cir. 2003), certiorari denied 543 U.S. 999, 125 S.Ct. 627, 160 L.Ed.2d 465

(2004).   Insomuch as the subject testimony was relevant to show the

defendants’ knowledge that their conduct was illegal and to establish a pattern

of conduct similar to that charged in the indictment, the Petitioner cannot show

that there is a reasonable probability that the Court would have granted a

motion to suppress Brown and Moore’s testimony. Consequently, the Petitioner

cannot establish prejudice on the basis of counsel’s decision not the challenge

the admissibility of the evidence. Strickland, 466 U.S. at 694.

      Finally, the Petitioner claims that counsel was ineffective for failing to call

as a witness an unnamed private investigator who attempted to interview Eric

Brown for the defense. According to the Petitioner, the investigator would have

testified that when first approached, Mr. Brown initially did not appear to know

who the Petitioner was.       However, the Petitioner has not identified any

statement Brown made to the investigator that contradicts his trial testimony.

More importantly, the Petitioner cannot show that there is a reasonable

probability that he would not have been convicted of Count One had the

investigator testified about his “impression” of Mr. Brown, assuming such


                                         58

 Case 3:02-cr-00156-MOC-DSC       Document 408     Filed 01/18/11   Page 58 of 70
testimony would have been admissible. Strickland, 466 U.S. at 694.

                c. Failure to Raise Issues of Prosecutorial Misconduct20

      The Petitioner claims that counsel was ineffective at trial and on appeal

for failing to raise the issue of prosecutorial misconduct, “when a lot of the

government witnesses testified falsely and the prosecutor knew it and failed to

correct it.” [Doc. 1-1, at 50]. For the reasons stated in the sections of this

Order addressing the Petitioner’s claims of prosecutorial misconduct and

ineffective assistance of counsel, this claim is without merit.

                d. Failure to Argue Petitioner was Legally Innocent of Money
                Laundering Convictions

      In his amendment to his § 2255 motion, the Petitioner claims that counsel

was ineffective at trial and on appeal for failing to argue that he was legally

innocent of the money laundering offenses based on the reasoning of United

States v. Santos, 553 U.S. 507, 128 S. Ct. 2020, 170 L.Ed.2d 912 (2008).

[Doc. 3.] In Santos, the Supreme Court considered the question of whether the

term "proceeds" in 18 U.S.C. § 1956(a)(1), the federal money laundering

statute, means "receipts" or "profits." 553 U.S. at 509.

      In a 4-1-4 decision, the justices in the plurality held that the term

"proceeds,” which was undefined in the statute, was ambiguous and without



      20
           Alleged in Ground 23 ¶ 17 of the Petitioner’s Motion to Vacate.

                                              59

 Case 3:02-cr-00156-MOC-DSC            Document 408      Filed 01/18/11      Page 59 of 70
legislative history adequate to clarify its meaning. Id., at 511-12. The plurality

applied the rule of lenity and held that "proceeds," as used in § 1956(a)(1),

means "profits," not total "receipts," from the criminal activity conducted. Id., at

514.    Accordingly, "a criminal who enters into a transaction paying the

expenses of his illegal activity cannot possibly violate the money-laundering

statute, because by definition profits consist of what remains after expenses are

paid." Id., at 517.

       Justice Stevens concurred in the judgment, agreeing that with respect to

the gambling enterprise at issue in Santos, Congress has not indicated its intent

as to whether "proceeds" should be defined to include all "receipts" or just the

"profits." Id., at 524-26 (Stevens, J., concurring). Justice Stevens, however,

declined to join the plurality in its holding that "proceeds" as used in § 1956

always means "profits" under the rule of lenity. Id. Instead, Justice Stevens

explicitly recognized that the term "proceeds" could have a different meaning

when referring to some specified unlawful activities as opposed to other

activities and that "proceeds" should only be limited to "profits" under the rule

of lenity where there exists no indication as to whether Congress intended the

term to include the gross revenues of a particular unlawful activity or to be

restricted to its profits. Id.

       In the instant case, counsel was not ineffective at trial or on appeal for


                                        60

  Case 3:02-cr-00156-MOC-DSC      Document 408     Filed 01/18/11   Page 60 of 70
failing to argue that the Petitioner was legally innocent of money laundering

based on the reasoning in Santos.            The law is clear that counsel is not

constitutionally deficient for failing to anticipate a new rule of law. Kornahrens

v. Evatt, 66 F.3d 1350, 1360 (4th Cir. 1995), certiorari denied 517 U.S. 1171,

116 S.Ct. 1575, 134 L.Ed.2d 673 (1996); United States v. McNamara, 74 F.3d

514, 517 (4th Cir. 1996) (holding that counsel was not ineffective for following

the controlling circuit law at the time); Nickerson v. Lee, 971 F.2d 1125, 1136

(4th Cir. 1992), certiorari denied 507 U.S. 923, 113 S.Ct. 1289, 122 L.Ed.2d

681 (1993), abrogated on other grounds Yeatts v. Angelone, 166 F.3d 255 (4th

Cir. 1999), certiorari denied 526 U.S. 1095, 119 S.Ct. 1517, 143 L.Ed.2d 668

(1999) (holding that trial counsel could not have been expected to object to the

State’s peremptory challenges, since trial predated Batson decision by several

months).

      Furthermore, the Petitioner was not involved in the type of specified

unlawful activity addressed in Santos, and because Justice Stevens made clear

his agreement with the plurality was limited to that type of unlawful activity,21 an



      21
         Justice Stevens’s opinion represents the holding of the Santos Court. See
United States v. Mashburn, 406 F.3d 303, 308 (2005), quoting Marks v. United States,
430 U.S. 188, 193, 97 S.Ct. 990, 51 L.Ed.2d 260 (1977) (“When a fragmented Court
decides a case and no single rationale explaining the result enjoys the assent of five
Justices, the holding of the Court may be viewed as the position taken by those
Members who concurred in the judgments on the narrowest grounds.”) (internal
quotation marks omitted).

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  Case 3:02-cr-00156-MOC-DSC        Document 408      Filed 01/18/11   Page 61 of 70
argument related to "proceeds" as limited to "profits" in the mortgage fraud

context would have failed under Santos. United States v. Howard, 309 Fed.

Appx. 760, 771 (4th Cir. 2009), certiorari denied 130 S.Ct. 62, 175 L.Ed.2d 46,

78 USLW 3171 (2009) (recognizing that Santos was limited to the unlawful

activity of gambling enterprises).

      Finally, even if Santos did apply to mortgage fraud schemes, the

Government produced ample evidence of both receipts generated from the

scheme that were used to promote further unlawful activity and profits used for

the personal expenses of the Petitioner, his family, and friends. Therefore, the

Petitioner was properly convicted of money laundering, and he has not

established deficiency in counsel’s performance or prejudice in connection with

his ineffective assistance of counsel claim.

             e. Insufficiency of the Evidence 22

      The Petitioner contends that the evidence against him was insufficient to

prove that he acted with “intent,” “knowledge,” or “willful blindness/deliberate

avoidance” or that he “aided and abetted” any of his co-defendants with respect

to any of his convictions. He also contends that the evidence against him was

insufficient to prove that any of the false statements/entries that he made were



      22
       Alleged in Ground 23 ¶ 4 of the Petitioner’s Motion to Vacate; also alleged in
Grounds 13-18 and 20-21.

                                           62

  Case 3:02-cr-00156-MOC-DSC        Document 408      Filed 01/18/11   Page 62 of 70
“material” as required to support convictions for Counts Two through 10, 11

through 21, 22 through 32, 33 through 36, 37 through 41, and 53 through 54.

With respect to Counts 53 through 54, the Petitioner contends further that there

was insufficient evidence to prove that BB & T was exposed to risk. The

Petitioner claims that counsel was ineffective in his manner of making these

specific arguments on direct appeal.

      The record reflects that at the close of the Government’s evidence and

at the close of all of the evidence, counsel moved for judgment of acquittal on

the grounds that the Government had presented insufficient evidence to

support convictions on any of the charged counts. On appeal, counsel argued

that this Court erred in denying the motions because the Government had failed

to present “substantial evidence that [the Petitioner] had the requisite criminal

intent to commit any of the charged offenses.” [Brief of Appellants, at 27,

McLean, supra. (No. 03-4899, 03-4922, 03-4923, 04-4038) 2004 WL 5245322].

(emphasis added). Counsel also argued that the Government had “failed to

introduce substantial evidence that [Petitioner] knew of any illegality at the time

of the various transactions [with Fannie Mae, Ginnie Mae, and BB &T].” [Id., at

28] (emphasis added). Finally, counsel argued that “the Government failed to

introduce evidence sufficient to support a verdict finding [the Petitioner] guilty

of the charged crimes[.]” [Id., at 29.] In short, counsel argued on appeal that


                                        63

 Case 3:02-cr-00156-MOC-DSC      Document 408     Filed 01/18/11   Page 63 of 70
the evidence presented at trial was insufficient to prove that the Petitioner had

the requisite mens rea to commit the crimes alleged in the indictment.

      The Fourth Circuit rejected these arguments.                    Furthermore, after

reviewing the entire record, the Court concluded that “there was ample

evidence for a reasonable trier of fact to have found defendants guilty beyond

a reasonable doubt on each count of conviction.” McLean, 131 Fed.Appx. at

41. Considering the broad sweep of the Court’s conclusion, the Petitioner

cannot show that there is a reasonable probability that the appellate court

would have reached a different conclusion had counsel raised the other specific

arguments outlined in Petitioner’s motion. Strickland, 466 U.S. at 687-88, 694.

                f. Government’s Improper Appellate Arguments 23

      The Petitioner claims that counsel failed to draw the appellate court’s

attention to allegedly improper statements in the Government’s appellate brief.

Specifically, the Petitioner contends that the Government misquoted a

statement made by his wife, Macy, in her appellate brief; misquoted Eric

Brown’s testimony at trial; and misrepresented the number of houses that the

defendants had built during the conspiracy. For the reasons stated in the

section of this Order addressing Petitioner’s claims of prosecutorial misconduct,

this claim is without merit.


      23
           Alleged in Ground 23 ¶¶ 11, 15, and 24 of the Petitioner’s Motion to Vacate.

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 Case 3:02-cr-00156-MOC-DSC            Document 408      Filed 01/18/11   Page 64 of 70
                g. Failure to Adopt Co-Defendants’ Arguments on Appeal24

      The Petitioner claims that appellate counsel was ineffective for failing to

adopt his co-defendants’ challenge to the district court’s decision to give a

“willful blindness” instruction at trial. The Fourth Circuit, however, affirmed the

Court’s decision to give this instruction, however. McLean I, 131 Fed.Appx. at

38 (affirming willful blindness instruction as to the Petitioner’s co-defendants

and noting that such an instruction is appropriate “‘when the defendant asserts

lack of guilty knowledge but the evidence supports an inference of deliberate

ignorance,’” quoting United States v. Abbas, 74 F.3d 506, 513 (4 th Cir. 1996)).

In light of the Petitioner’s defense that he did not intend to act unlawfully in

establishing and maintaining his “investor scheme,” the instruction was equally

appropriate in his case, and counsel was not ineffective for failing to adopt this

issue on appeal. Strickland, 466 U.S. at 687-88, 694.

      The Petitioner likewise cannot succeed on his claim that appellate

counsel was ineffective for failing to argue that he relied on Ginnie Mae

manuals that purportedly stated it was appropriate to place manufactured home

loans in single-family pools.         The Petitioner was not convicted of placing

manufactured home loans in Ginnie Mae single-family pools; he was convicted

of selling fraudulent loans. Therefore, he cannot show that he was prejudiced


      24
           Alleged in Ground 23 ¶¶ 26-27 of the Petitioners’ Motion to Vacate.

                                             65

 Case 3:02-cr-00156-MOC-DSC            Document 408     Filed 01/18/11    Page 65 of 70
by counsel’s decision not to raise this issue on appeal. Id.

                h. Downward Departure on Appeal from Resentencing 25

      At sentencing, trial counsel moved for a downward departure based on

an alleged overstatement of Petitioner’s criminal history. U.S.S.G. § 4A1.3.

The motion was denied and appellate counsel challenged the denial on direct

appeal. [Brief of Appellants, at 51-55, McLean, supra. (No. 03-4899, 03-4922,

03-4923, 04-4038) 2004 WL 5245322]. Although, the Fourth Circuit vacated

the Petitioner’s sentence and remanded the case for resentencing in light of

United States v. Booker,26 it specifically rejected the Petitioner’s argument that

the Court had erred in denying the downward departure.                       McLean I, 131

Fed.Appx. at 41 (“[W]e have considered each defendant's argument with

respect to the application of the guidelines and conclude that the district court

committed no error in that regard.”).

      At resentencing, the Court imposed the same sentence that it had

previously. McLean II, 192 Fed.Appx. at 235. The Petitioner contends that

counsel was ineffective for failing to raise the downward departure issue again

on the direct appeal of his resentencing. Counsel, however, could not have

been ineffective for failing to raise an issue that the appellate court had


      25
           Alleged in Ground 23 ¶ 20 of the Petitioner’s Motion to Vacate.
      26
           543 U.S. 220, 125 S.Ct. 738, 160 L.Ed.2d 621 (2005).

                                              66

 Case 3:02-cr-00156-MOC-DSC            Document 408      Filed 01/18/11      Page 66 of 70
adjudicated against the Petitioner on a previous appeal. Bell, 5 F.3d at 66

(holding that the “law of the case” doctrine forecloses re-litigation of issues

expressly or impliedly decided by the appellate court). Therefore, this claim has

no merit. Strickland, 466 U.S. at 687-88, 694.

                i. Failure to File Petition for Writ of Certiorari27

      The Petitioner asserts two claims with respect to counsel’s handling of his

Petition for Writ of Certiorari to the United States Supreme Court. The first is

that appellate counsel was ineffective for failing to file the petition after the

Fourth Circuit affirmed Petitioner’s convictions on direct appeal, as originally

requested by him. The second is that counsel was ineffective for failing to raise

in the Petition for Writ of Certiorari all of the defective indictment issues raised

in the instant §2255 motion and for failing to challenge the Court’s refusal to

grant the Petitioner a downward departure under U.S.S.G. § 4A1.3. .

      Attorney error amounts to constitutionally ineffective assistance of

counsel only if a constitutional right to effective assistance of counsel exists.

Coleman v. Thompson, 501 U.S. 722, 752, 111 S.Ct. 2546, 115 L.Ed.2d 640

(1991). Where there is no constitutional right to counsel, there can be no

deprivation of effective assistance. Wainwright v. Torna, 455 U.S. 586, 587-88,

102 S.Ct. 1300, 71 L.Ed.2d 475 (1982). An indigent criminal defendant has a


      27
           Alleged in Ground 23 ¶ 28 of the Petitioner’s Motion to Vacate.

                                              67

 Case 3:02-cr-00156-MOC-DSC            Document 408      Filed 01/18/11      Page 67 of 70
Sixth Amendment right to the assistance of counsel through his first appeal.

Anders v. California, 386 U.S. 738, 87 S.Ct. 1396, 18 L.Ed.2d 493 (1967). He

does not have a Sixth Amendment right to counsel in pursuing discretionary

certiorari review in the Supreme Court. Austin v. United States, 513 U.S. 5, 8,

115 S.Ct. 380, 130 L.Ed.2d 219 (1994); Pennsylvania v. Finley, 481 U.S. 551,

555, 107 S.Ct. 1990, 95 L.Ed.2d 539 (1987) (“[T]he right to appointed counsel

extends to the first appeal of right, and no further.”). Consequently, there can

be no Sixth Amendment deprivation of the effective assistance of counsel in the

filing of a certiorari petition. Coleman, 501 U.S. at 752.

      Furthermore, appellate counsel did file a Petition for Writ of Certiorari,

albeit not until after the Petitioner’s appeal of his resentencing. Evidently, that

petition did not raise questions with respect to the indictment or the downward

departure, as the Petitioner had requested. However, even if the Petitioner had

the right to effective assistance of counsel at the discretionary review stage of

the proceedings, he could not succeed on this claim. According to counsel, he

researched the alleged indictment deficiencies and found them to be without

merit. [Doc. 13-1]. Counsel is not required to assert all non-frivolous issues on

appeal and, as demonstrated in this Order, the Petitioner cannot show that he

was prejudiced by counsel’s decision not to raise any of the instant claims in

the certiorari petition. Jones v. Barnes, 463 U.S. 745, 751-54, 103 S.Ct. 3308,


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 Case 3:02-cr-00156-MOC-DSC      Document 408     Filed 01/18/11   Page 68 of 70
77 L.Ed.2d 987 (1983); Strickland, 466 U.S. at 694.

                     CERTIFICATE OF APPEALABILITY

      The Court has considered the Petitioner’s motion, any attached exhibits,

and the record of the prior proceedings. The Court finds that the Petitioner is

not entitled to relief and therefore the motion must be dismissed. The Court

further finds that the Petitioner has not made a substantial showing of a denial

of a constitutional right. 28 U.S.C. § 2253(c)(2); Miller -El v. Cockrell, 537 U.S.

322, 336-38, 123 S.Ct. 1029, 154 L.Ed.2d 931 (2003) (in order to satisfy §

2253(c), a petitioner must demonstrate that reasonable jurists would find the

district court’s assessment of the constitutional claims debatable or wrong)

(citations omitted). As a result, the Court declines to issue a certificate of

appealability. Rule 11(a), Rules Governing Section 2255 Proceedings for the

United States District Courts.




                                        69

 Case 3:02-cr-00156-MOC-DSC      Document 408     Filed 01/18/11   Page 69 of 70
                                 ORDER

     IT IS, THEREFORE, ORDERED that the Government’s Motion for

Summary Judgment [Doc. 14] is hereby GRANTED.

     IT IS FURTHER ORDERED that the Petitioner’s Motion under 28

U.S.C. §2255 to Vacate, Set Aside or Correct Sentence by a Person in

Federal Custody [Doc. 1] is hereby DENIED and this action is hereby

DISMISSED.

                                     Signed: January 17, 2011




                                    70

 Case 3:02-cr-00156-MOC-DSC   Document 408    Filed 01/18/11    Page 70 of 70
